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                                 #:26687

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    14                               UNITED STATES DISTRICT COURT
    15
                           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
    16                                               )
          JENNY LISETTE FLORES, et al.,         )    Case CV 85-4544 DMG-AGRx
    17
                                                )
    18                  Plaintiffs,             )    EXHIBITS IN SUPPORT OF
                                                )    PLAINTIFFS’MOTION TO
    19           - vs -                         )    ENFORCE THE SETTLEMENT
    20                                          )    AGREEMENT[REDACTED
          WILLIAM BARR, ATTORNEY                )     VERSION OF DOCUMENT
    21    GENERAL                               )    PROPOSED TO BE FILED
           OF THE UNITED STATES, et al.,        )    UNDER SEAL] VOL. 1 OF 5
    22
                                                )
    23                  Defendants.             ) [HON. DOLLY M. GEE]
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                                 #:26688


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    28   PLAINTIFFS’ MOTION TO ENFORCE CV 85-4544-DMG(AGRX)
                                                 ii
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                                 #:26689


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    28   PLAINTIFFS’ MOTION TO ENFORCE CV 85-4544-DMG(AGRX)
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                                 #:26692
Case 2:85-cv-04544-DMG-AGR Document 547-3 Filed 05/31/19 Page 7 of 115 Page ID
                                 #:26693
Case 2:85-cv-04544-DMG-AGR Document 547-3 Filed 05/31/19 Page 8 of 115 Page ID
                                 #:26694




                              Exhibit 1
                                                                        Page 1
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12      Attorneys for plaintiffs (listing continues on following page)
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                                        UNITED STATES DISTRICT COURT
14

15                           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                                       )
16
        JENNY LISETTE FLORES, et al.,           ) Case No. CV 85-4544 DMG (AGRx)
17                                              )
                     Plaintiffs,                ) DECLARATION OF PETER SCHEY IN
18
                                                ) SUPPORT OF PLAINTIFFS’ MOTION TO
19            - vs -                            ) ENFORCE SETTLEMENT AGREEMENT RE
                                                ) RELEASE FROM UNLICENSED AND
20
        JEFFERSON B. SESSIONS, ATTORNEY         ) SECURE “EMERGENCY INFLUX
21      GENERAL OF THE UNITED STATES, et al., ) FACILITIES”
                                                )
22
                     Defendants.                )        [HON. DOLLY M. GEE]
23                                         _ )
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                                      #:26696

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                                                  ii                        Page 3
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                                      #:26697

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1       I, Peter Schey, do hereby declare that the following is true and correct.
2
     1. I am a class counsel in Flores v. Sessions. My responsibilities as class counsel
3
        include ongoing monitoring of Defendants’ compliance with the terms of the
4
        Settlement Agreement reached in this matter.
5
6    2. In furtherance of this responsibility, I coordinate site visits by volunteer attorneys to
7       ORR facilities throughout the nation, including visits to Homestead Emergency
8       Influx Facility in November 2018 and March 2019. Each attorney volunteer is
9
        vetted to ascertain they are a member in good standing of their respective state bars.
10
     3. The site visits were led by attorney Hope Frye, whose declaration is concurrently
11
        filed in support of this Motion to Enforce the Settlement. Ms. Frye has led
12
13      numerous visits to ORR facilities under the auspices of the Flores Settlement
14      Agreement. I provided materials and training for Plaintiffs’ monitors on
15      interviewing class members, recording class members’ statements, drafting class
16
        member declarations, and reviewing with and interpreting declarations for class
17
        members.
18
     4. Attorneys conducting the site visits were able to briefly interview staff at
19
20      Homestead and make personal observations of the circumstances at Homestead.
21   5. In November 2018, class counsel Carlos Holguin, deposed Homestead Influx
22      Facility Program Coordinator, Bernadine Leslie Wood, and ORR Federal Field
23
        Specialist Karen Husted. True and correct copies of Ms. Wood’s and Ms. Husted’s
24
        deposition transcripts are beingfiled herewith as Exhibits 9 and 10.
25
     6. Defendants provide data to class counsel on a monthly basis, as required by the
26
27      Settlement Agreement. In order to meaningfully analyze this data, pursuant to a
28      confidentiality agreement, I have provided this data to Stanford University

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        researchers led by Dr. Nancy Ewen Wang. A copy of their analysis as to length of
1
        detention is filed herewith as Exhibit 5.
2
3    7. Plaintiffs have met and conferred with Defendants regarding this motion. Plaintiffs
4       believe the issues raised are not within the current jurisdiction of the Special
5       Master, but nevertheless (i) provided her with a copy of Plaintiffs’ meet and confer
6
        correspondence provided the Defendants on December 31, 2018
7
8          I declare under penalty of perjury that the foregoing facts are true and

9    correct. Executed this 30th day of May, 2019, in Los Angeles, CA.
10
11
12
13                                                          ____________
14                                           Attorneys for Plaintiffs

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1                                    CERTIFICATE OF SERVICE
2

3             I, Peter Schey, declare and say as follows:
4
              I am over the age of eighteen years of age and am a party to this action. I am
5
        employed in the County of Los Angeles, State of California. My business address is
6

7       256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
8
              On May 31, 2019, I electronically filed the following document(s):
9

10
        with the United States District Court, Central District of California by using the
11

12      CM/ECF system. Participants in the case who are registered CM/ECF users will be

13      served by the CM/ECF system.
14
                                                                   /s/Peter Schey
15                                                                 Attorney for Plaintiffs
16

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                              Exhibit 2
                                                                        Page 8
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                                    Declaration of Hope M. Frye

  I, Hope M. Frye, declare that the following is true and complete to the best of my knowledge:

  l. My name is Hope Frye. I am an immigration attorney licensed to practice law by the Supreme
  Court of Ohio, registration number 0025018. I am past president of the American Immigration
  Lawyers Association, former chair of the board for the Center for Human Rights and
  Constitutional Law, and currently serve as executive director of Project Lifeline.

  2. I regularly lead teams of attorneys and doctors to monitor compliance by Customs and Border
  Protection (“CBP”), Immigration and Customs Enforcement (“ICE”), and the Office of Refugee
  Resettlement (“ORR”) with the settlement in Flores v. Barr. We visit facilities where these
  agencies hold unaccompanied children and families with children.

  3. Between March 25-28, I led a Flores visit to an ORR facility for unaccompanied children
  located on the Homestead Job Corps facility site, adjacent to the Homestead Air Base in
  Homestead, Florida (“Homestead”). This shelter is operated by Comprehensive Health Services
  (a Caliburn Company).

  4. This Flores team was comprised of highly skilled lawyers and doctors who regularly interact
  with traumatized immigrant children in the course of their work. The majority have been on
  more than one Flores monitoring visit, including to ORR’s Tornillo and Casa Padre facilities
  The team included Michael Bochenek and Clara Long (Human Rights Watch); Kennji Kizuka
  (Human Rights First); Theresa Lee (KIND); Elora Mukherjee (Columbia Law School); Beth
  Lyon (Cornell Law School); Inez Fraenkel; Natasha Quiroga (Lawyers Committee for Civil
  Rights); Dr. Ewen Wang (Professor of Emergency Medicine – Pediatrics, Stanford University
  Medical School), and Dr. Ryan Matlow (Director of Community Research Programs for
  Stanford’s Early Life Stress and Pediatric Anxiety Program, Stanford University Medical
  School).

  5. L      W     Health and Human Services (HHS) Lead Program Coordinator and manager of
  Homestead, greeted us, led the facility tour, and answered questions during a meeting following
  the tour. Her senior management team is J          M      Program Coordinator, who also
  accompanied us on the tour, and V         B , Director of Quality Control. According to Ms.
  W       Homestead has 3,321 employees covering three shifts.

  6. Ms. W       stated that HHS contracts separately for all services necessary to run Homestead,
  including security, commissary, and maintenance, that training for staff is provided by General
  Dynamics Information Technology and that some transportation is provided by GEO Group.
  W      stated that she does not supervise any of these contractors.

  7. According to Ms. W         there were 2,026 children ages 13-17 held at Homestead, including
  480 children who arrived during our visit. Forty percent of the children are 17. W       advised
  that Homestead’s capacity was then 2,142 but is being increased to accommodate 2,350 children.
  She stated that the staff-to-child ratio is 1:12. Of the 8,000 or so children held at Homestead over




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  the past year, W       advised that only 55 had been sent there after being placed at other ORR
  facilities, the rest having come directly from the border.

  8. In all but name, Homestead is a secure facility. The perimeter is surrounded by an 8’ chain
  link fence with a privacy covering. Entrance and exits are blocked by fences and gates staffed by
  security personnel. The gates are closed, opened only upon producing proper credentials.
  Children understand that they are not free to leave and have been told that they will be arrested
  by local police and ICE and deported, if they do. Even talking about leaving is thought to be a
  violation of the rules for which children believe they will be stepped-up to a more restrictive
  facility.

  9. According to W , Homestead does not hold a license to care for dependent children, or
  indeed, any other state license. She stated that licensure is unnecessary because Homestead is on
  federal property. However, she reported that local police have been called and responded to
  incidents at the shelter. She also said she would expect city of Homestead firefighters to provide
  services should there be a fire at the ORR facility.

  10. I observed Homestead to be markedly stark, almost entirely devoid of foliage, and
  memorable for a drab, institutional quality. The noise level inside every building we entered
  (education, cafeteria, multi-purpose area and so forth) was disturbingly high. The buildings,
  including the cafeteria, medical unit and dormitories were unclean, and many areas smelled
  strongly of mildew.

  11. The facility is divided into “campuses” – the South Side (holding 13-16-year-olds) and the
  North Side (holding 17-year-olds). On the South Side, four large dilapidated concrete buildings
  are used as dormitories. On the exterior of one of these buildings is a sign that says: “Column
  contains lead paint. Contact Safety Officer before working on the column.” Among an
  auditorium, cafeteria, and administrative building, are three large tents. One tent houses the
  education area; another is for orientation and large gatherings, and a third has showers and
  toilets.

  12. The dormitories on the South side each sleep 434 children, 12 to a room, in bunk beds. The
  rooms are small and have few windows. Each room has a shared toilet and shower. Children
  keep their few belongings in a plastic box under each bed. The rooms are barren with doors
  removed. A staff member sits in the entryway to monitor the children at night.

  13. On the North Side, 144 seventeen-year-old boys sleep in bunk beds in a cavernous room that
  appears to have been an airplane hangar. The beds are close together and the blankets worn. The
  far interior wall has an enormous and very loud built-in fan that runs constantly. The children
  who sleep closest to the fan (a distance of maybe 12-15 feet) are given an extra blanket to pull
  over their heads in order to contend with the noise and the constant draft the fan creates. W
  claims that ear plugs are available upon request but that no child has ever asked for them. She
  also claims that the boys enjoy this sleeping arrangement, because it “feels like a slumber party.”
  Children we interviewed universally disagreed with Wood and denied being offered ear plugs.




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  14. The communal bathroom for this enormous sleeping area is accessed through a single door
  located in the back of the room and down a hallway. It’s a large room with showers, three to a
  stall, a number of portable toilets, and a deep smell of mildew from the carpet. According to the
  medical experts on our monitoring team, the unsanitary condition of the bathroom area and the
  incessant and deafening noise of the fan are clear health hazards.

  15. The layout of this immense communal sleeping area and the secluded location of the
  bathroom make it difficult, if not impossible, for Homestead staff to ensure children’s safety.
  While we were told that there are 30 security cameras at Homestead, there are none in the
  sleeping areas. Moreover, during our tour of the operations center, we observed no one watching
  or even facing the security camera monitors.

  16. Children at Homestead have access to two dirt fields used for soccer and a small basketball
  area. We were told the fields are being re-sodded. The recreation areas appeared wholly
  insufficient to accommodate the exercise needs of the hundreds of children being held at
  Homestead.

  17. I asked to see where children were kept in solitary confinement. We were taken to a small
  windowless room tucked in the corner of the medical building. The room had four beds and
  nothing more. W        said that children were put there when they turned 18 to await transfer to an
  ICE facility by Geo (contracted transportation). She claimed that because of her “good
  relationship with ICE” most youth are picked up the same day and that, in any event, none
  remain in solitary confinement for more than two days. Although there is no bathroom,
  said the children are not allowed outside the room. She claimed to have no choice but to
  segregate the 18-years-olds from the other children in this way. She also claimed that no minors
  are ever held in this room or in any other solitary condition.

  18. W      told us that the facility’s rules are clearly explained to detained children, and that
  positive reinforcement is used to manage behavior that violates these rules. She stated that
  children who violate the rules are sent to a “better choices” group that helps them identify
  behavioral triggers and “redirect” behavior. She stated that children are issued reports only to
  encourage them to redirect impermissible behavior.

  19. Every child interviewed expressed fear and anxiety around the enforcement of shelter rules.
  They had been told during orientation that any violation of the rules would result in a 10-30-day
  extension of detention. Some children believed that if they violated a rule their social worker
  would stop work on reuniting them with parents and other family members for an extended
  period of time. They all believed that rule violations would affect their immigration cases,
  potentially resulting in deportation. Although children expressed concern that they did not know
  all the rules, those they uniformly reported knowing included 1. no touching (even of a sibling or
  when saying goodbye to a friend who is leaving the shelter); 2. failing to finish showering within
  5 minutes; 3. no looking at or talking to a member of the opposite sex; and 4. not finishing their
  food. Children uniformly reported that enforcement of Homestead’s rules was severe, and that
  they feared the repercussions of any infraction.




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  20. Upon admission to Homestead, children have a medical screening and are given vaccinations
  at the on-site medical clinic. The clinic operates 24/7 and has rooms for overnight stays for
  children with diseases such as the flu, conjunctivitis and upper respiratory problems. Children
  are supposed to report illness to a Youth Counselor, who is supposed to take them to the clinic
  within one hour. However, several children reported extensive delays, up to several days, in
  being taken to the clinic, despite repeated requests for medical attention.

  21. We met briefly with K          O       a licensed clinician whose title is “Parental Sex Abuse
  Compliance Manager,” and A           G           , also a licensed clinician, who manages the other
  clinicians who are not licensed. Lead clinicians must be licensed while others with related
  degrees can practice under a licensed clinician’s supervision.

  22. O       told us that within 72 hours of arriving at Homestead, children have a
  bio/psych/social risk assessment to determine placement. Before being cleared for stay at
  Homestead, clinicians tell children about the “zero tolerance policy” for touching and/or verbal
  disrespect and the grievance procedure.

  23. O       further advised that children determined to have psychiatric needs are taken to Larkin
  Community Hospital in South Florida for evaluation. Children may be treated as outpatients or
  admitted to the hospital, and some children have been send to Larkin multiple times and stayed
  there for lengthy periods. Larkin staff may prescribe Homestead detainees medications, which
  are administered at Homestead’s medical unit. O         claimed that written parental consent is
  obtained for the administration of psychotropic medications on a Homestead-specific form. She
  reported that the signed form is uploaded onto the ORR portal and the original destroyed. On the
  day we met with the clinicians, two children were being discharged from Larkin and nine
  children were being given psychotropic drugs.

  24. Among the children we interviewed at Homestead was D                                , (A
  number                ), who reported having attempted suicide, hearing the voice of her
  grandfather, and other signs of psychiatric illness. She had been hospitalized three times for a
  total of three months. She was taking three psychotropic drugs and required her own 1:1 monitor.

  25. Employees told us that Homestead has an “eyes on at all times” policy which requires them
  to have the children they are responsible for always in the line of sight. As a result, children
  never have any privacy.

  26. W     told us that children are transferred to licensed shelters only if they have special needs.
  She did not elaborate on what constitutes a special need. During our visit, we encountered
  children who are required to be placed in a licensed ORR facility under ORR rules including
  those who spoke indigenous languages and were not fluent in Spanish and M             who is
  blind.(See ¶ 32)

  27. Children had not been given a list of lawyers nor advise of their Flores. Although children
  expressed a desire for legal representation, none had a lawyer nor did they know how to contact
  one.




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  28. Although W       said that visitors are allowed, children did not know this. Additionally,
  Homestead has extensive rules governing outside visits the import of which discourages
  visitation.The only actual outside contact are phone calls.

  29. After interviewing class members it was clear without a doubt that the staff at Homestead do
  not provide class members with adequate time to speak with their families or provide adequate
  privacy when on the telephone. L      W      Homestead program director, and all class
  members, stated telephone time was limited to two ten minute phone calls per week. Class
  members must request, and have been denied, additional telephone time even if they have an
  unusual circumstance such as death of an immediate family member.

  30. We observed Homestead’s school to be rather makeshift: a tent divided into mostly small
  rooms. The interior walls do not reach the ceiling, and the noise generated by some 2,000
  children who fill in 52 classrooms in the tent creates a din. Teachers use headsets with
  microphones so that students may hear instruction over the constant noise. We observed
  approximately 36-48 children per class with one teacher. We were told that teachers work every
  day. We observed an unstructured and disorganized environment not suitable for nor conducive
  to learning.

  31. According to Ms. W , Homestead organizes it staff into 25-30 teams made up of case
  workers, clinicians and case aids. She stated that caseworkers for approximately 17% of the
  children detained at Homestead operate remotely, communicating with children by Skype. For
  their part, numerous children we interviewed reported that their caseworkers changed so often
  they never knew who is in charge of reuniting them with the families or other proposed
  custodians, and that recommendations for their release had been delayed because replacement
  case workers had to learn about their cases. During our visit, there were eight vacancies for case
  worker positions. One case worker was non-Spanish speaking. W          said the average length of
  time a child stays at Homestead is 62 days, down from an average of 89 days during the period
  ORR demanded fingerprints from all adults living in a proposed sponsor’s household.

  32. We interviewed M        A                       , an indigenous 14-year-old Guatemalan
  boy who has been detained since December 6, 2018. Miguel is 4’9’, 66 pound, legally blind and
  whose first language is Acateco. The paternity of M   s father was confirmed on December
  12, 2018, and he was being processed as a sponsor.

  33. We had serious concerns about the length of M         s detention, placement at Homestead,
  lack of suitable education, medical and psychological care and other issues including safety.
  During the March 28 site inspection, I asked W       why M       l had not been released. Twice
  she stated that they were waiting for a $5,000 pair of glasses and that M      would be released
  once the glasses were received. She admitted she had no idea when that might happen.

  34. On April 3 I received a copy of M         s ORR file. The file contained an Abuse/Neglect in
  ORR Care Event Report ID               of physical abuse by another child. According to the report,
  on March 27,           was hit in the stomach by another child. He had been the victim of repeated
  assaults by children, including being hit in the groin.       knew or should have known about




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  this assault when I asked about M       ’s release. I intervened on April 4. Within hours, plans
  were made to release M       to his father the following day.

  35. In a subsequent conversation with Sarah Fabian and A        M                , ORR Juvenile
  Coordinator, I was told that M      s release was delayed waiting for his father to complete
  modifications required following a home study. The glasses that had been ordered were being
  mailed.

  36. M       s was not the only inappropriate placement we encountered. Of the 13 indigenous
  children we saw, five were not fluent enough in Spanish to be interviewed. They spoke Mam,
  Q’eqchi, and K’iche. According to Wood, no one working at Homestead speaks any indigenous
  language.

  I, Hope M. Frye, declare under penalty of perjury of the laws of the United States that the
  foregoing is true and correct.

  Executed this 25 day of May 2019, at Tiburon, California.




                                                  Hope M. Frye




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                                                                             May 21, 2019


        Office of Refugee Resettlement Policies
         Relating to Unaccompanied Minors
     ORR Children Entering the United States Unaccompanied: Guide to Terms,
     Section 1.7

     Source: https://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-
     unaccompanied-section-1#1.7

     1.7 Placement and Operations During an Influx
     As noted in subsection 1.3.5, ORR may experience periods of influx in which the
     number of unaccompanied alien children coming into the United States exceeds
     the standard capabilities of ORR to process them timely and to shelter them with
     existing resources.
     During an influx, ORR may not have sufficient bed space available within its
     licensed care provider network to place unaccompanied alien children. In this
     situation, ORR arranges for Influx Care Facilities to meet the need.
     An Influx Care Facility is a type of care provider facility that is opened to provide
     temporary emergency shelter and services for UAC during an influx or
     emergency. Because of the temporary and emergency nature of Influx Care
     Facilities, they may not be licensed or may be exempted from licensing
     requirements by State and local licensing agencies. Influx Care Facilities may
     also be opened on Federal properties, in which case, the facility would not be
     subject to State or local licensing standards.

     Certain Influx Care Facilities may require a 72-hour medical waiting period prior
     to receiving unaccompanied alien children. Therefore, ORR may also
     activate HHS Processing Centers (HPC) to initially screen and vaccinate
     children prior to their placement in Influx Care Facilities. Unaccompanied alien
     children remain in an HPC until they are medically cleared for movement to and
     placement in an Influx Care Facility. During an influx, ORR also uses HPCs to
     more efficiently handle the transfer of unaccompanied alien children from DHS
     border patrol custody into HHS custody.
     HPCs must provide the services as described in subsection 1.7.5 and
     1.7.6. Standard ORR facilities that are designated as HPCs or as Influx Care
     Facilities are required to meet the same standards applicable to all ORR State-
     licensed programs.




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     ORR’s Children Entering the United States Unaccompanied: Guide to
     Terms

     Source: https://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-
     unaccompanied-guide-to-terms#Influx

     Definition of “Influx” and “Influx Care Facility”

     Influx – An increase in the number of unaccompanied alien children that
     exceeds the standard capabilities of responsible Federal departments and
     agencies to process and transport them timely and/or to shelter them with
     existing resources.
     Influx Care Facility – A type of care provider facility that is opened to provide
     temporary emergency shelter and services for unaccompanied alien children
     during an influx or emergency. Influx care facilities may be opened on Federally
     owned or leased properties, in which case, the facility would not be subject to
     State or local licensing standards; or, at facilities otherwise exempted by the
     State licensing authority.


     2.5 ORR Policies on Requesting Background Checks of Sponsors

     Source: https://www.acf.hhs.gov/orr/resource/children-entering-the-united-states-
     unaccompanied-section-2

     In order to ensure the safety of an unaccompanied alien child and consistent with
     the statutory requirements under the TVPRA of 2008, ORR requires a
     background check of all potential sponsors and household members. The
     background check takes place as soon as the potential sponsor and adult
     household members have completed the Authorization for Release of Information
     form, submitted fingerprints (when applicable), and provided a copy of a valid
     government issued photo identification. ORR transmits the fingerprints to the
     Department of Homeland Security to perform criminal and immigration status
     checks on ORR’s behalf. DHS then submits the results to ORR.

     ORR also conducts additional background checks without going through
     DHS. Depending on the circumstances, these checks may involve background
     checks on criminal history (including through the FBI) and child abuse/neglect
     checks (CA/N)

     Adult care givers identified in a sponsor care plan also require background
     checks, as provided in the chart at section 2.5.1.



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     2.5.1 Criteria for Background Checks

     Source: https://www.acf.hhs.gov/orr/resource/children-entering-the-united-
     states-unaccompanied-section-2

     All potential sponsors and some adult household members undergo a
     background check for criminal history and immigration status using
     fingerprints. These checks are conducted by the Department of Homeland
     Security on behalf of ORR and DHS then submits the results to ORR.

     In addition, ORR independently conducts background checks without going
     through DHS. This independent background check process varies, depending in
     part on the relationship of the potential sponsor to the unaccompanied alien child:

         • Parents and legal guardians (Category 1)
         • Other immediate adult relatives, such as brother, sister, aunt, uncle,
           grandparent or first cousin (Category 2)
         • Distant relatives and unrelated adults (Category 3)
     As a part of this independent background check process, all potential sponsors
     and adult household members must undergo a public records check and sex
     offender registry check.

     The following indicates the minimum requirements for the process for sponsors.
     ORR may require additional checks, verifications, or procedures for sponsors in
     any category if there are any unresolved issues or questions related to the well-
     being of the child.
     The following table lists the types of background checks performed, and explains
     when they are performed, based on the potential sponsor’s relationship to the
     unaccompanied alien child and other release considerations. The chart identifies
     when DHS performs the check on ORR’s behalf. (See also Section 2.7.4, listing
     findings barring release).

     Type of Background Check   Purpose                             Persons Checked          When Performed

                                Identifies arrests or convictions
                                of sponsors, adult household        Potential Sponsors in
                                members, or others. If a check      Categories 1-3.
                                reveals a criminal record or
                                                                   Non-sponsor adult
                                safety issue, it will be used to   household members and
                                evaluate the sponsor’s ability to  adult care givers
     Public Records Check                                          identified in a sponsor   In all cases
                                provide for a child’s physical and care plan.




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                                     mental well-being.



     Sex Offender Registry Check, Identifies sponsors and others           Potential Sponsors in

     conducted through the U.S.      that have been adjudicated as sex Categories 1-3.
     Department of Justice           offenders through a national
                                                                           Non-sponsor adult
     National Sex Offender Public    search and, if available, a local     household members and
                                                                           adult care givers
     Website                         public registry search.               identified in a sponsor   In all cases
                                                                           care plan.

                                     Provides information about                                      In all cases.
                                     immigration court actions and         Potential Sponsors in

                                     immigration statuses, including       Categories 1-3.

                                     information about orders of
                                     removal. The information is also                                Where a public records check
                                                                                                     reveals possible disqualifying
                                     used to determine whether a                                     factors under 2.7.4; or where
     Immigration Status Check        sponsor care plan is required for                               there is a documented risk to
                                                                                                     the safety of the
     conducted by the Department     release (see Section 2.7.6).          Non-sponsor adult         unaccompanied alien child,
     of Homeland Security using                                            household members and     the child is especially
                                                                           adult care givers         vulnerable, and/or the case is
     fingerprints                                                          identified in a sponsor   being referred for a home
                                                                           care plan.                study.

                                                                           Potential Sponsors in
                                     Determines whether a sponsor or
                                                                           Categories 1-3.           In all cases.
                                     adult household member (as
                                     applicable) has a criminal
                                     history, has been convicted of a
                                     sex crime, or has been convicted                                Where a public records check
                                                                                                     reveals possible disqualifying
                                     of other crimes that compromise                                 factors under 2.7.4; or where
     National (FBI) Criminal         the sponsor’s ability to care for a                             there is a documented risk to
                                                                                                     the safety of the
     History Check, based on         child.                                Non-sponsor adult         unaccompanied alien child,
     digital fingerprints or                                               household members and     the child is especially
                                                                           adult care givers         vulnerable, and/or the case is
     digitized paper prints                                                identified in a sponsor   being referred for a home
                                                                           care plan.                study

                                                                                                     In all cases.
                                                                           Potential Sponsor in
                                     Determines whether a sponsor or       Categories 1-3.
                                     adult household member (as
                                     applicable) has a criminal                                      Where a public records check
                                                                                                     reveals possible disqualifying
                                     history, including: biographic                                  factors under 2.7.4; or where
                                                                                                     there is a documented risk to
     DHS criminal history check,     criminal check of the national
                                                                           Non-sponsor adult         the safety of the
     based on digital fingerprints   databases, a biographical check       household members and     unaccompanied alien child,
                                                                           adult care givers         the child is especially
     or digitized paper prints.      for wants and warrants.               identified in a sponsor   vulnerable, and/or the case is
                                                                           care plan.                being referred for a home




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                                                                                                  study.

                                                                                                  In cases that require a home
                                                                        Potential Sponsors in     study, and cases where a
                                                                        Categories 1-2.           special concern is identified.

     Child Abuse and Neglect
                                                                        Potential Sponsors in
     (CA/N) Check, obtained on a                                        Category 3.               In all cases.
     state by state basis as no    Checks all localities in which the
                                                                        Non-sponsor adult
     national CA/N check           sponsor or household member          household members and
                                                                        adult care givers         In any case where a sponsor is
     repository exists             has resided in the past 5 years.     identified in a sponsor   required to undergo a CA/N
                                                                        care plan.                check.

                                                                        Potential Sponsors in
                                                                        Categories 1-3.           Used on a case-by-case basis
     State Criminal History        Assists in locating police or                                  when there is an unresolved
                                                                        Non-sponsor adult
     Repository Check and/or       arrest records, or other criminal    household members and     criminal arrest or issue that is
                                                                        adult care givers
     Local Police Check            offense details, as needed.          identified in a sponsor   still in process.
                                                                        care plan.




      2.5.2 Results of Background Checks on Release Decisions
     As an entity providing for the health and well-being of children and youth, ORR
     uses the results from background checks to determine whether release to a
     potential sponsor is safe. A potential sponsor may be denied a release request,
     based on the results of a background check, and a release decision may remain
     undecided until ORR obtains the results of a potential sponsor’s criminal history,
     immigration background checks, or child abuse and neglect reports.

     The biometric and biographical information, including fingerprints, is shared with
     Federal, state or local law enforcement agencies and may be used consistent
     with their authorities, including with the DHS to determine immigration status and
     criminal history, and with the DOJ to investigate criminal history through the
     National Criminal Information Center.

     Criminal History
     In the event that a background check of a potential sponsor or, if applicable, adult
     household member, reveals criminal history or a safety risk, the care provider
     and ORR evaluate this information and request the potential sponsor to provide
     any additional information that may demonstrate the potential sponsor’s ability to
     provide for the child’s physical and mental well-being.

     If release is not barred by Section 2.7.4, the decision to release a child or youth
     to a sponsor in these circumstances is based on all the following considerations:



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          • The severity of the criminal and/or child abuse/neglect history;
         • The length of time that has passed since the criminal act or child
            abuse/neglect allegation occurred;
         • The relationship of the potential sponsor and other adult household
            members to the child or youth; and
         • The evidence, if any, of rehabilitation since the criminal act or child
            abuse/neglect allegation occurred.
     In cases where the proposed sponsor or other adult household member has
     been charged with, but not convicted of, a crime, ORR may postpone a final
     release decision until the legal issue is resolved.

     If the sponsor has an outstanding order of removal, or a pending order of
     removal that is related to an underlying criminal act, the decision to release a
     child or youth to a sponsor in these circumstances is based on the considerations
     described above.

     Sponsor Immigration Status
     ORR does not disqualify potential sponsors on the basis of their immigration
     status. ORR uses status information to determine whether a sponsor care plan is
     necessary in the event the sponsor is required to leave the United States. (See
     Section 2.6 Effect of Sponsor Immigration Status on Release of
     Unaccompanied Alien Children)

     Summary Table of Results of Background Checks and Next Steps
     The following table shows procedures following the results of background
     checks.
     Background Check Results                                    Next Steps


     No arrest record; check completed                           Proceed with release decision-making process. See
                                                                 Section 2.7 Recommendations and Decisions on Release.

                                                                 Determine whether release is barred. See Section 2.7.4 Deny
                                                                 Release Request. If release is not barred, elevate safety
                                                                 issues for third party review. For any findings that could
                                                                 affect safe release, care provider and/or ORR will obtain
                                                                 additional documents to determine current situation (e.g.
                                                                 sponsor is on probation, criminal charges are resolved, etc.).
     Criminal arrest record and/or substantiated adverse child   Final release decision shall take into account the criminal
     welfare findings; check completed                           records and all other relevant information that is available.



     Immigration status concern (e.g. out of status, no legal    Review FBI record and DHS report, and/or Department of




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     status, prior order of removal, or no immigration record for Justice/Executive Office of Immigration Review’s case
     non-citizen)                                               status hotline for information related to possible unresolved
                                                                immigration issues.



     Pending results; check not complete                        ORR/FFS will provide instructions to care provider




     2.2.4 Required Documents for Submission with the Application for Release

     Source: https://www.acf.hhs.gov/orr/resource/children-entering-the-united-
     states-unaccompanied-section-2


     In addition to completing and signing the Family Reunification Application (FRA)
     and the Authorization for Release of Information, potential sponsors must provide
     documentation of identity, address, and relationship to the child they seek to
     sponsor.3 Potential sponsors must also submit documentation verifying the
     identity of the children they seek to sponsor, and evidence verifying the identity of
     all adults residing with the sponsor and all adult care givers identified in a
     sponsor care plan. In addition to their use as evidence of the foregoing, all
     documentation submitted under this section is used as part of the overall sponsor
     assessment process. See Section 2.4 Sponsor Assessment Criteria and
     Home Studies. As a result, ORR may in its discretion require potential sponsors
     to submit additional documentation beyond the minimums specified below.

     Proof of Child’s Identity
     The potential sponsor or child’s family must provide the unaccompanied alien
     child’s birth certificate or a legible copy of the child’s birth certificate.

     2.2.5 Legal Orientation Program for Custodians
     All potential sponsors of children and youth under the care of ORR should attend
     a presentation provided by the Legal Orientation Program for Custodians
     (LOPC). The purpose of this program is to inform potential sponsors of their
     responsibilities in ensuring the child’s appearance at all immigration proceedings,
     as well as protecting the child from mistreatment, exploitation, and trafficking, as
     provided under the Trafficking Victims Protection Reauthorization Act of 2008.
     The program also provides information about possible free legal counsel (pro
     bono legal services) for the youth or child during the immigration court process.

     The Office of Legal Access Programs (OLAP), within the Executive Office for
     Immigration Review (EOIR) at the U.S. Department of Justice, manages the
     LOPC and contracts with legal service organizations around the country to
     provide LOPC services to potential sponsors in their local communities or in



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     metropolitan areas served by the program. EOIR is the entity in the federal
     government that is also responsible for adjudicating immigration cases by fairly,
     expeditiously, and uniformly interpreting and administering the nation's
     immigration laws.

     The unaccompanied alien child’s case manager is responsible for informing
     potential sponsors about all procedures related to the child’s case--including
     attendance at an LOPC presentation. The Family Reunification Packet (FRP)
     that goes to each potential sponsor includes an Authorization for Release of
     Information that the sponsor must sign before the case manager may schedule
     an appointment for LOPC services. All potential sponsors should submit
     the Authorization for Release of Information immediately and prior to submitting
     the complete FRP to ensure timely scheduling of their LOPC session.
     Upon receipt of the Authorization, the case manager schedules an appointment
     for a potential sponsor to attend a presentation with one of the LOPC providers
     around the country. Alternatively, the case manager contacts the LOPC
     National Call Center at (888) 996-3848 and arranges for the Call Center to
     schedule an LOPC appointment for the potential sponsor or mail an LOPC
     Information Packet to the sponsor.
     When evaluating family members and other potential sponsors, ORR considers
     whether they have attended an LOPC presentation. Attendance at an LOPC
     presentation is a factor in the release assessment.

     2.4 Sponsor Assessment Criteria and Home Studies

     Source: https://www.acf.hhs.gov/orr/resource/children-entering-the-united-
     states-unaccompanied-section-2

     As noted in the Section 2.2 Application for Safe and Timely Release of an
     Unaccompanied Alien Child from ORR Care, the application process for
     release of an unaccompanied alien child involves a number of steps, including
     background checks (see Section 2.5 ORR Policies on Requesting
     Background Checks) and submission of the application by the sponsor. This
     section describes the criteria ORR uses to assess each potential sponsor’s ability
     to provide for the physical and mental well-being of the unaccompanied alien
     child, and the role of home studies in the process.
     The sponsor assessment reviews a sponsor’s strengths, resources, risk factors
     and special concerns within the context of the unaccompanied alien child’s
     needs, strengths, risk factors, and relationship to the sponsor. ORR also
     determines whether to conduct a home study, as required by the law or as
     necessary to ensure the welfare of the child




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     2.4.1 Assessment Criteria
     ORR considers the following factors when evaluating family members and other
     potential sponsors:

        •   The nature and extent of the sponsor’s previous and current relationship
            with the child or youth and the unaccompanied alien child’s family, if a
            relationship exists.
        •   The sponsor’s motivation for wanting to sponsor the child or youth.
        •   The unaccompanied alien child’s parent or legal guardian’s perspective on
            the release to the identified potential sponsor (for cases in which the
            parent or legal guardian has designated a sponsor).
        •   The child or youth’s views on the release and whether he or she wants to
            be released to the individual.
        •   The sponsor’s understanding of the unaccompanied alien child’s needs,
            as identified by ORR and the care provider.
        •   The sponsor’s plan to provide adequate care, supervision, access to
            community resources, and housing.
        •   The sponsor’s understanding of the importance of ensuring the
            unaccompanied alien child’s presence at all future hearings or
            proceedings, including immigration court proceedings, and the sponsor’s
            attendance at a Legal Orientation Program for Custodians (LOPC)
            presentation. See section 2.2.5.
        •   The linguistic and cultural background of the child or youth and the
            sponsor, including cultural, social, and communal norms and practices for
            the care of children.
        •   The sponsor’s strengths, resources, and mitigating factors in relation to
            any risks or special concerns of the child or sponsor, such as a criminal
            background, history of substance abuse, mental health issues, or
            domestic violence and child welfare concerns.
        •   The unaccompanied alien child’s current functioning and strengths in
            relation to any risk factors or special concerns, such as children or youth
            who are victims of human trafficking; are a parent or are pregnant; have
            special needs, disabilities or medical or mental health issues; have a
            history of criminal, juvenile justice, or gang involvement; or a history of
            behavioral issues.




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  Peter Schey
  Flores Class Counsel
  Center for Human Rights and Constitutional Law
  256 S. Occidental Blvd.
  Los Angeles, CA 90057

  May 29, 2019

  Re:   Data Analysis, Flores v. Barr, Case No. 85-CV-04544-DMG



  Dear Mr. Schey,

  At your request as Class Counsel in the above-referenced case, and pursuant to a
  confidentiality agreement entered into between your office and staff and Dr. N.
  Ewen Wang, MD, I have analyzed monthly data from January 2018 to April 2019
  provided to you by the Department of Justice (DOJ) and Department of Homeland
  Security (DHS) pursuant to the Flores Settlement.

  Qualifications

  I am a Professor in Emergency Medicine and Pediatrics (by courtesy), Associate
  Director of Pediatric Emergency Medicine and Director of our section in Social
  Emergency Medicine at Stanford University School of Medicine. My scholarly
  expertise is in health services research with a focus on Social Emergency
  Medicine, or the intersection of vulnerable populations with the Health Care
  system. I am additionally affiliate faculty in the Human Rights in Trauma Mental
  Health program at Stanford. My team has over 10 years of experience using
  national and statewide datasets to analyze population-wide access to specialty care
  and health outcomes. We have been funded by the National Institute of Health, as
  well as by various external and internal grants.

  Length of Detentions at Homestead and ORR-facilities

  As you requested, we have provided two separate analytical reports, the first
  focusing on the detention of Flores Class Members at the Homestead Influx Center


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  and the second focusing on ORR-wide custody of detained Class Members. We
  provide an overview of the Class Members’ detention data regarding gender, age,

  country of origin. We also provide length of detention of Class Members as a
  function of age, data regarding class members who “age out” while in custody as a
  function of the length of detention prior to aging out.

  The results of these analyses are attached to this letter.

  Additional Data Required to Analyze Effective Prompt and Continuous Efforts to
  Release

  Having reviewed the terms of the settlement and carefully analyzed the data that
  the government is currently providing to Class Counsel, we believe it is urgently
  important for the relevant agencies to provide additional data points in order to
  assess compliance with specific provisions of the settlement.

  In particular, it does not appear that ORR or Homestead collects or records
  quantifiable data that would permit ORR, the Special Master, or Class Counsel to
  monitor Homestead’s success or failure in making and recording efforts aimed at
  the prompt release of minors, as required by Paragraph 18 of the Settlement.
  (“Upon taking a minor into custody, [Defendants], or the licensed program in
  which the minor is placed, shall make and record the prompt and continuous
  efforts on its part toward family reunification and release of the minor pursuant to
  Paragraph 14 above. Such efforts at family reunification shall continue so long as
  the minor is in [Defendants’] custody.” Settlement ¶ 18.) For example, data
  regarding date, time, and location of apprehension and initial booking by CBP are
  not provided in ORR reports. Additionally, there are crucial data quality and
  validation issues including distinctly different class members recorded with the
  same A-number.

  Analyzing this data is likely the most accurate, cost-effective, and effective way to
  monitor compliance with the Settlement. The size of the class, the widespread
  dispersal of the class members, the large number of facilities, and the security
  measures taken to detain the class, all combine to make occasional visual
  inspections a far less accurate and effective means to assess compliance with this
  provision, than reports that can be prepared based upon contemporaneous agency
  records of the entire class.



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  My team – pediatric and health services experts with a sincere interest in the
  health, safety, and well-being of detained children – have created a data
  infrastructure that is able to assist in dynamic and effective monitoring of
  compliance with the terms of the Settlement.

  Recent major increases in the volume of detained class members, the known
  effects of stress and detention on the physical and mental health of children, as
  well as the deaths of class members in custody of the relevant agencies makes this
  compliance an urgent health issue. We are available to assist in recommending
  what data should be made available, how it should be recorded and methods of
  analysis.

  Sincerely,




  Dr. N. Ewen Wang, M.D.
  Professor Emergency Medicine
  Professor Pediatrics (by courtesy)
  Associate Director Pediatric Emergency Medicine
  Director Section in Social Emergency Medicine
  ewen@stanford.edu
  (650) 723-0757




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Facility Report for Flores v. Barr Class Counsel: Homestead
Analysis of Class Members Held at the Homestead ORR Facility                                                                  May 24, 2019

Executive Summary
This report summarizes Department of Justice Oﬃce of Refugee Resettlement (DOJ ORR) data provided to
Flores v. Barr Class Counsel for Class Members held in the custody of ORR at the Homestead facility at any
point from January 2018 to April 2019. The focus is on detention characteristics of the 10,125 Class
Members whose DOJ records clearly indicate their age, date of placement into ORR custody, detention
duration, and, when applicable, release from ORR custody.


We conclude that the monthly volume of Class Members held at Homestead has more than doubled since
June 2018. Additionally, only 1615 (16% of 10,125) Class Members were released from ORR custody within
20 days. Notably, there were 1828 (18%) Class Members detained more than 90 days, 1593 (16%) detained
from 61-90 days, 3318 (33%) from 31-60 days, and 1771 (17%) from 21-30 days.

Volume
There were a total of 10,125 Class Members held in ORR custody at Homestead from January 1, 2018
through April 30, 2019. We attempt to account for the constant influx and eﬄux of Class Members. Table 1
demonstrates that there were 3 (0.003% of 10,125) Class Members already in ORR custody as of December
31, 2017 who were eventually held at Homestead. During 2018, 4753 (46.9%) Class Members who were
placed in custody by ORR were held at Homestead. To date in 2019, 5369 (53%) Class Members were placed
in custody by ORR and were held at Homestead.
Table 1. Overview of the volume of Class Members held in ORR Custody at Homestead, by year of placement and release.

                                                                                                                               Still in ORR Custody on
                                                        Grand Total              Released in 2018          Released in 2019
                                                                                                                                           30APR2019

Grand Total                                       10,125 (100.0%)                    3,089 (30.5%)            4,483 (44.3%)            2,553 (25.2%)
In ORR Custody as of 31DEC2017                              3 (0.0%)                        3 (0.0%)
Placed into ORR Custody in 2018                      4,753 (46.9%)                   3,086 (30.5%)            1,512 (14.9%)                155 (1.5%)
Placed into ORR Custody in 2019, to date             5,369 (53.0%)                                            2,971 (29.3%)            2,398 (23.7%)



Demographics
Figure 1. Basic demographics of Class Members held in ORR Custody at Homestead.


Gender                                          Age                                                      Country of Origin

                                                                                                                     Other     Mexico
                                                         11 to 13 years
                                                                                                                   174 (1.7%) 113 (1.1%)
                                                          549 (5.4%)
   Female
                                                                                                            El Salvador
3,087 (30.5%)
                                                                                                           1,463 (14.4%)



                                                                                                                                         Guatemala
                                                                                                           Honduras                     5,605 (55.4%)
                                   Male                                                                  2,770 (27.4%)
                               7,038 (69.5%)
                                                                               14 to 17 years
                                                                               9,575 (94.6%)




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Homestead: Monthly Volume Trends of Class Members in Detention

Homestead began holding Class Members in ORR custody in March 2018. From June 2018 through December
2018 the average number of Class Members held in detention at Homestead each month was 1,515.

The number of Class Members held in detention at Homestead more than doubled from 1,570 in June 2018 to
3,234 in March 2019 and continued to increase in April 2019 to a maximum for the reporting period of 3,728
Class Members. (Figure 2)


Figure 2. Class Members held in custody by ORR at Homestead by month. Shading indicates length of detention to date. 9,906 Class
Members in view.
                             4000
                                     Cumulative Days in Detention                                                                                                      3,728
                                          1-20 days

                             3500         21-30 days
                                          31-60 days                                                                                                          3,234
                                          61-90 days
                             3000         91+ days
                                                                                                                                                                       1,707
Class Members in Detention




                                                                                                                                                              1,256
                             2500
                                                                                                                                                     2,328



                             2000                                                                                                           1,909
                                                                                                                                                      812
                                                                           1,687                                                   1,692
                                                                1,570                              1,544       1,504                308      657               791      868
                             1500                                            298
                                                                                       1,364
                                                                                                    404         223
                                                                 523         153                                           1,244
                                                                                         246                                                          538
                                                       1,073                                                                        485
                                                                                                    153                     315
                             1000                                225                                            518
                                                                             758         385        327                                      767
                                                        585                                                                 227                       472
                                                                                                                                    389                        907      943
                             500               423               671                                357         316         285
                                                                                         480                                        167
                                                                             406                                                             223      356
                                               324
                                     53                 300                                         303         366         339     343
                               0                                                         173                                                 214      150               171

                                    Mar 18   Apr 18    May 18   Jun 18      Jul 18     Aug 18      Sep 18      Oct 18     Nov 18   Dec 18   Jan 19   Feb 19   Mar 19   Apr 19




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Homestead: Length of Detention
Overall, the median length of detention in ORR custody for Class Members held at Homestead was 43 days
(Inter Quartile Range (IQR) 25-75).

Few Class Members were in ORR custody 20 days or less (1615, 16% of 10,125). The largest number of Class
Members, 3318 (32.8%), remained in ORR custody 31-60 days; the second largest number of Class Members,
1771 (17.5%), remained in ORR custody 21-30 days. (Table 2). Length of detention distributions were similar
across age groups. (Figure 3)

Table 2. Overall detention characteristics of Class Members held at Homestead, grouped by age at time of placement into ORR
Custody.
                                                   Grand Total                     6 to 10 years                   11 to 13 years             14 to 17 years
Number of Class Members                       10,125 (100.0%)                            1 (0.0%)                    549 (5.4%)               9,575 (94.6%)

Released                                         7,633 (75.4%)                                                      442 (80.5%)               7,191 (75.1%)
Still in ORR Custody on 30APR2019                2,492 (24.6%)                       1 (100.0%)                     107 (19.5%)               2,384 (24.9%)

Length of Detention >20 days                     8,510 (84.0%)                       1 (100.0%)                     443 (80.7%)               8,066 (84.2%)
Length of Detention <=20 days                    1,615 (16.0%)                                                      106 (19.3%)               1,509 (15.8%)

Detention in days, median (IQR)                      43 (25-75)                       32 (32-32)                      40 (23-74)                  43 (25-75)


1-20 days                                        1,615 (16.0%)                                                      106 (19.3%)               1,509 (15.8%)
21-30 days                                       1,771 (17.5%)                                                      112 (20.4%)               1,659 (17.3%)
31-60 days                                       3,318 (32.8%)                       1 (100.0%)                     149 (27.1%)               3,168 (33.1%)
61-90 days                                       1,593 (15.7%)                                                       95 (17.3%)               1,498 (15.6%)
91-120 days                                         862 (8.5%)                                                         39 (7.1%)                 823 (8.6%)
121-150 days                                        402 (4.0%)                                                         19 (3.5%)                 383 (4.0%)
151-180 days                                        263 (2.6%)                                                         11 (2.0%)                 252 (2.6%)
6-<12 months                                        295 (2.9%)                                                         18 (3.3%)                 277 (2.9%)
12-<18 months                                          6 (0.1%)                                                                                    6 (0.1%)




Figure 3. Distribution of length of detention for Class Members held at Homestead, grouped by age; a diﬀerent visualization of Table 2
information. The 6-10 years individual is not shown.

                30%


11 to 13        20%
years
                10%

                0%      19.3%         20.4%         27.1%            17.3%             7.1%               3.5%         2.0%         3.3%

                30%


14 to 17        20%
years
                10%

                0%      15.8%         17.3%         33.1%            15.6%             8.6%               4.0%         2.6%         2.9%           0.1%
                      1-20 days     21-30 days    31-60 days      61-90 days       91-120 days           121-150      151-180       6-<12         12-<18
                                                                                                          days         days         months        months




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Homestead: Transfer & Release Characteristics
Most Class Members at Homestead began their detention in ORR Custody at Homestead. The majority
(8,841, 87.3% of 10,125) also remained in ORR Custody at Homestead until release, while 7% were
transferred to BCFS Tornillo (Tables 3 & 4)

At the end of the reporting period, 69.5% of Class Member had been Reunified with a sponsor. Most of these
had a sponsor in Florida, Texas, or California. (Figures 4 & 5) Of those Reunified, 2,013 (28.6% of 7,037) had
been held in ORR Custody for 61-120 days, longer than most other types of releases. (Table 5)

Table 3. Top 10 facilities where Class Members at Homestead are                    Table 4. Top 10 facilities where Class Members at Homestead are
first held in ORR Custody                                                          last held in ORR Custody

First Program Name                                                                  Last Program Name
Grand Total                                                10,125 (100.0%)          Grand Total                                                    10,125 (100.0%)
Homestead                                                   10,067 (99.4%)          Homestead                                                          8,841 (87.3%)
His House                                                           17 (0.2%)       BCFS Tornillo                                                         707 (7.0%)
Southwest Key Casa Quetzal                                          10 (0.1%)       His House                                                             134 (1.3%)
Catholic Charities Boystown                                          7 (0.1%)       Catholic Charities Boystown                                            77 (0.8%)
Southwest Key Campbell                                               6 (0.1%)       Southwest Key Casa Padre                                               61 (0.6%)
BCFS San Antonio                                                     3 (0.0%)       BCFS Harlingen                                                         51 (0.5%)
Southwest Key Casita Del Valle                                       3 (0.0%)       Southwest Key Nueva Esperanza                                          22 (0.2%)
Southwest Key Glendale                                               3 (0.0%)       Heartland Intl Childrens RC                                            15 (0.1%)
Southwest Key Sol                                                    3 (0.0%)       Southwest Key Rio Grande                                               14 (0.1%)
Southwest Key Casa Blanca                                            2 (0.0%)       Southwest Key Casa Montezuma                                           13 (0.1%)


Figure 4. Release classification of Class Members at Homestead.                    Figure 5. Top 10 states of sponsors of Reunified Class Members at
                                                                                   Homestead.

                          Other         Aged Out                                         FL                                                            894 (12.5%)
                        502 (5.0%)     114 (1.1%)                                       TX
                                                                                        CA                                                       804 (11.2%)
               Not Released
                                                                                        NY                                     516 (7.2%)
               2,453 (24.2%)
                                                                                        MD
                                                                                        NJ                                 427 (6.0%)
                                                                                        VA
                                                                                        GA                       266 (3.7%)
                                                                                        TN                      248 (3.5%)
                                                  Reunified
                                                7,037 (69.5%)                           NC
                                                                                              0%    2%          4%     6%       8%      10%      12%     14%    16%
                                                                                                                          % of Class Members


Table 5. Lengths of detention in ORR Custody by release classification, for Class Members at Homestead

                                 Grand Total             Reunified            Not Released                        Other         US Departure                Aged Out
Length of Detention
                           10,125 (100.0%)          7,037 (69.5%)            2,453 (24.2%)                    502 (5.0%)             19 (0.2%)            114 (1.1%)

1-20 days                      1,615 (16.0%)          716 (10.2%)              849 (34.6%)                    32 (6.4%)                                   18 (15.8%)
21-30 days                     1,771 (17.5%)        1,278 (18.2%)              457 (18.6%)                    27 (5.4%)                                     9 (7.9%)
31-60 days                     3,318 (32.8%)        2,283 (32.4%)              765 (31.2%)               245 (48.8%)                                      25 (21.9%)
61-90 days                     1,593 (15.7%)        1,263 (17.9%)                158 (6.4%)              156 (31.1%)                 2 (10.5%)            14 (12.3%)
91-120 days                      862 (8.5%)           750 (10.7%)                 73 (3.0%)                   25 (5.0%)               1 (5.3%)            13 (11.4%)
121-150 days                     402 (4.0%)            350 (5.0%)                 29 (1.2%)                     3 (0.6%)             3 (15.8%)            17 (14.9%)
151-180 days                     263 (2.6%)            200 (2.8%)                 49 (2.0%)                     4 (0.8%)             3 (15.8%)              7 (6.1%)
6-<12 months                     295 (2.9%)            197 (2.8%)                 67 (2.7%)                   10 (2.0%)           10 (52.6%)               11 (9.6%)
12-<18 months                        6 (0.1%)                                       6 (0.2%)




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Homestead: Turning 18 While in ORR Custody
During the reporting period, there were 3,555 17-year-old Class Members released from ORR custody who
were held at Homestead. Most (96.8% of 3,555) were released prior to their 18th birthday and their release
status is noted as 'Other Status' below. (Table 6)

The remaining 112 (3.2%) had a release status of 'Aged Out', which indicates they were released on the date
of their 18th birthday. A larger percentage of Class Members in the 'Aged Out' group (31.3% of 112) were
held in custody by ORR for more than 120 days compared to those released before they turned 18 (11.2% of
3,443). Trends related to monthly detention by release status are shown in Figure 6.



Table 6. Length of detention for 17-year-old Class Members held at Homestead and released from ORR Custody

                                                                                                                                           Other Status (released before 18th
Length of                                     Grand Total                                   Aged Out                                       bday)
Detention                                     3,555 (100.0%)                                112 (3.2%)                                   3,443 (96.8%)


1-20 days                                     312 (8.8%)                                    17 (15.2%)                                   295 (8.6%)
21-30 days                                    543 (15.4%)                                   8 (7.1%)                                     535 (15.6%)
31-60 days                                    1,178 (33.3%)                                 25 (22.3%)                                   1,153 (33.7%)
61-90 days                                    682 (19.3%)                                   14 (12.5%)                                   668 (19.5%)
91-120 days                                   398 (11.3%)                                   13 (11.6%)                                   385 (11.3%)
121-150 days                                  192 (5.4%)                                    17 (15.2%)                                   175 (5.1%)
151-180 days                                  104 (2.9%)                                    7 (6.3%)                                     97 (2.8%)
6-<12 months                                  125 (3.5%)                                    11 (9.8%)                                    114 (3.3%)




Figure 6. Monthly trends of release of 17-years-old Class Members held in custody by ORR at Homestead, grouped by type of release.
Vertical axis indicates percent of Class Members calculated within release type. Shading indicates length of detention.

                                                                                                                                                9
                                                                                                                                               21
                                           Cumulative Days in Detention                                                      11    11
                                              1-20 days              61-90 days
                                              21-30 days             91+ days                       9          9
                % of Class Members




                                     10%                                                                                     2      2
                                              31-60 days                                                                                                 8

                                                                                                               2             2
  Aged Out                                                                              6                                                                3
                                                                                                    4                               2
                                     5%                          4           4          3                                                                         4
                                                                                                                                               7                           3
                                                                 2                                                           6                           2
                                              2                              3                                 5                    5
                                                                                        2           4                                                             2
                                              2                  2                                                                                       2                 2
                                     0%
                                                                                                                                                                154
                                                                                                                                                                560      190
                                                                                                                                                                         663
                                                                                                                                                       339
                % of Class Members




                                     10%
                                                                                                                                                        74
                                                                                                                                              214
  Other                                                                                                                            185                          247      262
                                                                           173                                165
  Status                                                                                                                                                98
                                                                145                   135                                144
  (released                          5%                                                           131                              40
                                                                                                              54                              114
  before 18th                                                               88
                                                      76                                                                           37
  bday)                                                                                                       51             56                         92
                                                                                       72          50                                                            37
                                                                89                                                                                                        63
                                              21                            69                                                     83
                                     0%                                                            49         51             53                53       42       54

                                            Apr 18   May 18    Jun 18     Jul 18     Aug 18     Sep 18      Oct 18     Nov 18     Dec 18     Jan 19   Feb 19   Mar 19   Apr 19



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Homestead: Data Processing
1. Data shown are from DOJ files provided for months November 2017 through April 2019.

2. There are approximately 3400 more Class Members (~4% of all ORR records for this period, not just
records of the Homestead facility) excluded from this analysis because their DOJ records were ambiguous
due to duplicated, inconsistent, or missing data.

3. There are 336 individuals recorded in the DOJ files who were older than 18 at time of admittance into ORR
Custody. They are not included in this analysis of Flores Class Members.

4. Length of detention is calculated as the elapsed days from date of placement into the custody of ORR to
date of release. If there is no release information, the Class Member is assumed still in the custody of ORR at
the end of April 2019, and the length of detention is calculated as the elapsed days from date of placement
until 5/15/2019, the date of the census for the latest file provided by the DOJ. The date of placement and last
day in detention are included as days in detention.

5. Monthly trends of detained Class Members are the sums of all distinct Class Members held in the custody
of ORR each month. These will diﬀer from average daily census numbers provided by DOJ. Instead our
numbers indicate how many Class Members the ORR system detains and is responsible for each month.




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Report for Flores v. Barr Class Counsel
Analysis of Class Members Held at All ORR Facilities                                                                                      May 24, 2019

Executive Summary
This report summarizes Department of Justice Oﬃce of Refugee Resettlement (DOJ ORR) data provided to
Flores v. Barr Class Counsel for Class Members held in the custody of ORR at any point during January 2018
to April 2019. The focus is on detention characteristics of the 85,205 Class Members whose DOJ records
clearly indicate their age, date of placement into ORR custody, detention duration, and, when applicable,
release from ORR custody.


We conclude that the monthly volume of Class Members held in the custody of ORR has nearly doubled
during the reporting period. Additionally, only 11,899 (14% of 85,205) Class Members were released from
ORR custody within 20 days. Notably, there were 17,789 (21%) Class Members detained more than 90 days,
14,837 (17%) detained from 61-90 days, 28,690 (34%) from 31-60 days, and 11,990 (14%) from 21-30 days.

Volume
There were a total of 85,205 Class Members held in the custody of ORR from January 1, 2018 through April
30, 2019. We attempt to account for the constant influx and eﬄux of Class Members. Table 1 demonstrates
that there were 7,564 (8.9% of 85,205) Class Members already in ORR custody as of December 31, 2017,
51,191 (60.1%) were placed into ORR custody during 2018, and 26,450 (31%) were placed into ORR custody
during the first four months of 2019.

Table 1. Overview of the volume of Class Members held in ORR Custody, by year of placement and release.

                                                                                                                                               Still in ORR Custody on
                                                               Grand Total              Released in 2018                 Released in 2019
                                                                                                                                                           30APR2019

Grand Total                                             85,205 (100.0%)                   45,961 (53.9%)                  26,623 (31.2%)              12,621 (14.8%)
In ORR Custody as of 31DEC2017                               7,564 (8.9%)                    7,181 (8.4%)                         154 (0.2%)                229 (0.3%)
Placed into ORR Custody in 2018                           51,191 (60.1%)                  38,780 (45.5%)                  10,949 (12.9%)                1,462 (1.7%)
Placed into ORR Custody in 2019, to date                  26,450 (31.0%)                                                  15,520 (18.2%)              10,930 (12.8%)



Demographics
Figure 1. Basic demographics of Class Members held in ORR Custody.


Gender                                               Age                                                            Country of Origin

                                                                           0 to 5 years                                              Other      Mexico
                                                             6 to 10 years 2.5K (2.9%)                                            3.5K (4.1%) 2.2K (2.6%)
   Female                                                    6.0K (7.1%)
25.9K (30.4%)                                                                                                         El Salvador
                                                    11 to 13 years                                                   11.3K (13.2%)
                                                     7.9K (9.3%)

                                                                                                                                                         Guatemala
                                                                                                                                                        44.5K (52.2%)
                                   Male                                                                                Honduras
                               59.3K (69.6%)                                               14 to 17 years            23.8K (27.9%)
                                                                                           68.8K (80.7%)




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All Facilities: Monthly Volume Trends of Class Members in Detention

The number of Class Members held in custody by ORR each month nearly doubled during the reporting period.
February 2018 saw the fewest number of Class Members held in custody by ORR, 10,566; the maximum of
20,285 was recorded in April 2019. (Figure 2)

The number of Class Members held in custody by ORR for more than 3 months tripled, from 1,782 in January
2018 to 5,472 in October 2018, and remained at this level through December 2018.


Figure 2. Class Members in ORR Custody by month. Shading indicates length of custody to date; 85,205 Class Members in view.

                             22K
                                     Cumulative Days in Detention                                                                                                                         20.3K
                             20K           1-20 days                                                                                                   19.1K                    18.8K
                                           21-30 days
                             18K           31-60 days                                                                                       17.5K
                                                                                                                                  16.7K                 3.3K    17.0K   16.8K
                                           61-90 days
                                                                                                                       16.0K
                             16K           91+ days                                    15.7K      15.4K                                      3.1K                                         8.4K
                                                                                                                                                                                5.9K
                                                                             14.7K                          14.8K                 2.7K
                                                                                                                                                                3.9K
                                                                                                                        3.0K                            2.3K            4.6K
Class Members in Detention




                             14K                                                                   2.7K
                                                                                        3.8K                 2.5K                 1.2K       1.7K
                                                                  12.5K
                                                                             4.8K                                       1.1K                                    1.1K
                             12K                        11.5K                                      1.3K
                                                                                                             1.2K
                                   10.6K     10.6K                                                                                                      4.8K                    3.5K
                                                                   3.5K                 2.3K                                      4.3K                                  2.6K
                                                                                                                                             4.1K                                         3.3K
                             10K                        3.2K                                                            3.8K
                                   2.7K      2.4K                                                                                                               5.3K
                                                                             2.2K                            4.2K
                                                                                                   5.7K
                             8K                                    1.6K
                                   0.9K      1.3K       1.4K                                                                                                            3.6K
                                                                                        5.3K                                      3.1K       3.2K       3.2K                    4.8K
                                                                                                                        3.5K                                                              4.5K
                             6K                                              3.7K
                                             2.7K       2.8K       3.3K                                                                                         2.4K
                                   3.7K                                                                      3.5K
                                                                                                                                                                        2.3K
                             4K                                                                    2.8K                                                                          1.4K
                                                        1.4K       1.3K      1.5K       1.7K                                                                                              1.5K
                                             2.0K
                                   1.5K                                                                                           5.5K       5.4K       5.4K
                                                                                                                        4.8K                                    4.3K
                             2K                                                                              3.5K                                                       3.6K
                                                                                                   2.9K                                                                          3.3K
                                             2.2K       2.7K       2.7K      2.6K       2.7K                                                                                              2.6K
                                   1.8K
                             0K
                                   Jan 18 Feb 18 Mar 18 Apr 18 May 18 Jun 18                      Jul 18 Aug 18 Sep 18 Oct 18 Nov 18 Dec 18 Jan 19 Feb 19 Mar 19 Apr 19




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All Facilities: Length of Detention
Overall, the median length of detention in ORR custody was 48 days (Inter Quartile Range (IQR) 28-81).

Few Class Members were in ORR custody 20 days or less (11,899, 14% of 85,205). The largest number of
Class Members, 28,690 (33.7%), remained in ORR custody 31-60 days; the second largest number of Class
Members, 14,837 (17.4%), remained in ORR custody 61-90 days. (Table 2)

Length of detention distributions were similar across age groups. (Figure 3)


Table 2. Overall detention characteristics grouped by age at time of placement into ORR Custody.

                                                  Grand Total                 0 to 5 years             6 to 10 years              11 to 13 years        14 to 17 years
Number of Class Members                     85,205 (100.0%)                 2,508 (2.9%)               6,016 (7.1%)                7,919 (9.3%)       68,762 (80.7%)
Released                                     72,816 (85.5%)               2,117 (84.4%)              5,228 (86.9%)                6,882 (86.9%)       58,589 (85.2%)
Still in ORR Custody on 30APR2019            12,389 (14.5%)                 391 (15.6%)                788 (13.1%)                1,037 (13.1%)       10,173 (14.8%)

Length of Detention >20 days                 73,306 (86.0%)               2,146 (85.6%)              4,900 (81.4%)                6,450 (81.4%)       59,810 (87.0%)
Length of Detention <=20 days                11,899 (14.0%)                 362 (14.4%)              1,116 (18.6%)                1,469 (18.6%)        8,952 (13.0%)

Detention in days, median (IQR)                     48 (28-81)                 49 (28-84)                 45 (24-74)                 43 (24-73)             49 (29-83)


1-20 days                                    11,899 (14.0%)                 362 (14.4%)              1,116 (18.6%)                1,469 (18.6%)         8,952 (13.0%)
21-30 days                                   11,990 (14.1%)                 340 (13.6%)                 886 (14.7%)               1,270 (16.0%)         9,494 (13.8%)
31-60 days                                   28,690 (33.7%)                 820 (32.7%)              1,900 (31.6%)                2,537 (32.0%)       23,433 (34.1%)
61-90 days                                   14,837 (17.4%)                 438 (17.5%)              1,083 (18.0%)                1,293 (16.3%)       12,023 (17.5%)
91-120 days                                     7,164 (8.4%)                  196 (7.8%)                 432 (7.2%)                  571 (7.2%)           5,965 (8.7%)
121-150 days                                    3,895 (4.6%)                  139 (5.5%)                 262 (4.4%)                  291 (3.7%)           3,203 (4.7%)
151-180 days                                    2,249 (2.6%)                   82 (3.3%)                 133 (2.2%)                  172 (2.2%)           1,862 (2.7%)
6-<12 months                                    3,615 (4.2%)                  106 (4.2%)                 176 (2.9%)                  255 (3.2%)           3,078 (4.5%)
12-<18 months                                     604 (0.7%)                   15 (0.6%)                   15 (0.2%)                  31 (0.4%)             543 (0.8%)
18-<24 months                                     182 (0.2%)                     7 (0.3%)                   6 (0.1%)                  16 (0.2%)             153 (0.2%)
24+ months                                          80 (0.1%)                    3 (0.1%)                   7 (0.1%)                  14 (0.2%)              56 (0.1%)



Figure 3. Distribution of length of detention grouped by age; a diﬀerent visualization of Table 2 information.

                30%

0 to 5 years    20%
                10%
                       14.4%       13.6%          32.7%         17.5%          7.8%          5.5%          3.3%          4.2%          0.6%        0.3%        0.1%
                30%

6 to 10 years   20%
                10%
                       18.6%       14.7%          31.6%         18.0%          7.2%          4.4%          2.2%          2.9%          0.2%        0.1%        0.1%
                30%
11 to 13        20%
years
                10%
                       18.6%       16.0%          32.0%         16.3%          7.2%          3.7%          2.2%          3.2%          0.4%        0.2%        0.2%
                30%
14 to 17        20%
years
                10%
                       13.0%       13.8%          34.1%         17.5%          8.7%          4.7%          2.7%          4.5%          0.8%        0.2%        0.1%
                      1-20 days     21-30         31-60         61-90         91-120       121-150       151-180        6-<12         12-<18       18-<24      24+
                                    days          days          days           days         days          days          months        months       months     months




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All Facilities: Turning 18 While in ORR Custody
During the reporting period, there were 30,355 17-year-old Class Members released from ORR custody. Most
(91.7% of 30,355) were released prior to their 18th birthday and their release status is noted as 'Other
Status' below. (Table 3)

The remaining 2,533 (8.3%) had a release status of 'Aged Out', which indicates they were released on the
date of their 18th birthday. A larger percentage of Class Members in the 'Aged Out' group (14.7% of 2,533)
were held in custody by ORR for more than 6 months compared to those released before they turned 18
(5.6% of 30,355). Trends related to monthly detention by release status are shown in Figure 4.

Table 3. Length of detention for 17-year-old Class Members released from ORR Custody

                                                                                                                                                Other Status (released before 18th
Length of
                                              Grand Total                                       Aged Out                                        bday)
Detention
                                              30,355 (100.0%)                                   2,533 (8.3%)                                    27,822 (91.7%)

1-20 days                                     3,095 (10.3%)                                     657 (26.2%)                                     2,438 (8.8%)
21-30 days                                    3,806 (12.6%)                                     237 (9.4%)                                      3,569 (12.9%)
31-60 days                                    10,100 (33.5%)                                    481 (19.2%)                                     9,619 (34.8%)
61-90 days                                    5,699 (18.9%)                                     324 (12.9%)                                     5,375 (19.4%)
91-120 days                                   3,019 (10.0%)                                     188 (7.5%)                                      2,831 (10.2%)
121-150 days                                  1,617 (5.4%)                                      154 (6.1%)                                      1,463 (5.3%)
151-180 days                                  925 (3.1%)                                        97 (3.9%)                                       828 (3.0%)
6-<12 months                                  1,593 (5.3%)                                      288 (11.5%)                                     1,305 (4.7%)
12-<18 months                                 267 (0.9%)                                        72 (2.9%)                                       195 (0.7%)
18-<24 months                                 47 (0.2%)                                         11 (0.4%)                                       36 (0.1%)
24+ months                                    20 (0.1%)                                         2 (0.1%)                                        18 (0.1%)


Figure 4. Monthly trends of release of 17-years-old Class Members held in custody by ORR, grouped by type of release. Vertical axis
indicates percent of Class Members calculated within release type. Shading indicates length of detention.

                                            Cumulative Days in Detention
                                                  1-20 days               61-90 days
                % of Class Members




                                     10%          21-30 days              91+ days                                     232
                                                                                                                                                            222
                                                  31-60 days                                                                    199       202       204
                                                                                                                       43                                   37
                                                                                                             174                                                  167
  Aged Out                                                                                                                       46        60        54                     163       160
                                                                                          147
                                                                       130      130                           41
                                            118               120                                                      57                                          45       56
                                     5%              108                                                                                                    52                         57
                                                                                           53                                    34
                                                               31                39                                                                  39
                                                                                                              42       45
                                                                        33                                                       33
                                            39                                                      48
                                                                                                    33                 67        67       71         69     81     68
                                                     37        38       48       52                           51                                                            58         44
                                     0%                                                    36


                                                                                                                                                                                      2,995
                                                                                                                                                                           2,751
                % of Class Members




                                     10%                                                                                                                                              647
                                                                                                                                                    2,397 2,358             386
                                                                                                                                                                  2,178
                                                                                                                                                                            633       663
  Other                                                                                                                                             686
                                                                               1,635 1,576                                     1,611 1,591                        389
  Status                                                      1,354 1,432                                                                                   915
                                     5% 1,119 1,223                                               1,269              1,211
  (released                                                                                                                     353       404       568           679      1,005 1,081
                                                                                                            1,011
  before 18th                                                                                       532                         455                         466
                                                               495     557      631       690                                             410
  bday)                                              475                                                               421                                        407
                                            551                                                     335                                             956
                                                                                                                                677       645               659   497       474
                                     0%                                                                                436

                                           Jan 18 Feb 18 Mar 18 Apr 18 May 18 Jun 18 Jul 18 Aug 18 Sep 18 Oct 18 Nov 18 Dec 18 Jan 19 Feb 19 Mar 19 Apr 19


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All Facilities: Data Processing
1. Data shown are from DOJ files provided for months November 2017 through April 2019.

2. There are approximately 3400 more Class Members (~4% of all records) excluded from this analysis
because their DOJ records were ambiguous due to duplicated, inconsistent, or missing data.

3. There are 336 individuals recorded in the DOJ files who were older than 18 at time of admittance into ORR
Custody. They are not included in this analysis of Flores Class Members.

4. Length of detention is calculated as the elapsed days from date of placement into the custody of ORR to
date of release. If there is no release information, the Class Member is assumed still in the custody of ORR at
the end of April 2019, and the length of detention is calculated as the elapsed days from date of placement
until 5/15/2019, the date of the census for the latest file provided by the DOJ. The date of placement and last
day in detention are included as days in detention.

5. Monthly trends of detained Class Members are the sums of all distinct Class Members held in the custody
of ORR each month. These will diﬀer from average daily census numbers provided by DOJ. Instead our
numbers indicate how many Class Members the ORR system detains and is responsible for each month.




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                                       #:26769
                                                         CURRICULUM VITAE

                                                     Marsha R. Griffin, MD, FAAP
                                       University of Texas Rio Grande Valley School of Medicine
                                                       Department of Pediatrics
                                           2102 Treasure Hills Blvd, Harlingen, Texas 78550
                                                       marsha.griffin@utrgv.edu
                                               956-296-1537 (office); 956-832-8255 (cell)


EDUCATION

           M.D.      University of Texas Health Science Center at San Antonio (UTHSCSA)           May 2003
                     School of Medicine, San Antonio, TX

                     United Theological Seminary, graduate studies in Social Justice Issues       1995–1998
                             New Brighton, MN

           B.A.      University of Texas Pan American, Psychology/Biology                         May 1976
                              Edinburg, TX

                     Southwestern University, Pre-Med/Biology                                     1969-1970
                            Georgetown, TX

                     Texas Woman’s University, Communication                                      1968-1969
                            Denton, TX

RESIDENCY TRAINING

Pediatric Resident           University of Texas Health Science Center at San Antonio             2005-2006
                                      San Antonio, TX
Pediatric Resident           Baylor College of Medicine                                           2004-2005
                                      Houston, TX
Pediatric Internship         Baylor College of Medicine                                           2003-2004
                                      Houston, TX

CURRENT ACADEMIC APPOINTMENTS

Professor                    Department of Pediatrics
                             University of Texas Rio Grande Valley School of Medicine             2016-present

Director                     Division of Child and Family Health
                             Department of Pediatrics
                             University of Texas Rio Grande Valley School of Medicine             2016-present

Director                     Community for Children: At the Border and Beyond                     2006-present
                             International Elective in Community Pediatrics,
                             Department of Pediatrics
                             University of Texas Rio Grande Valley School of Medicine
                             University of Texas Health Science Center at San Antonio             2006-2016
                             Regional Academic Health Center

Adjunct Associate            Department of Pediatrics                                             2013-2016
Professor                    University of Texas Health Science Center at San Antonio
                             Regional Academic Health Center

Clinical Assistant           Department of Pediatrics                                             2006–2013
Professor                    University of Texas Health Science Center at San Antonio
                             Regional Academic Health Center



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                                       #:26770
Adjunct Doctoral           Department of Counseling, Leadership, Adult Education, and School          2015-present
Faculty                    Psychology in the College of Education, Texas State University


PREVIOUS NON-ACADEMIC APPOINTMENTS

Founder and President                  Focus Foundation, Inc.                                                     1989-1998
                                       Santa Fe, NM
Details: Founded the non-profit, Focus Foundation, Inc., to produce documentary films highlighting social justice issues affecting
children’s abilities to reach their full potential and to give children and youth a voice in creating the future.

         Documentaries               Summer’s Story: The Truth and Trauma of Date Rape                        1992 – Santa Fe, NM
         Summer’s Story was the personal story of a young college woman, who was raped her first month in college, of her healing
         and her advice to other college students. This film was distributed to major universities across the nation and was chosen by
         the State of Minnesota to be the lead piece in their Against Violence Campaign.

                                  In Our Hands                                                              1993 – Santa Fe, NM
         In Our Hands was a documentary celebrating the lives, visions, and art of young deaf artists from five State Deaf Schools
         across the Southwest. Focus Foundation edited the film, which was distributed to all State Deaf Schools in the United States.

                                    Voices of Our Children                                                    1995 – Ojibway country
         Voices of Our Children was commissioned by the Minnesota Juvenile Justice Committee to document the successes of
         Ojibway-based programs for their children growing up on five Ojibway reservations in Minnesota and southern Canada. The
         children and youth on the reservations shared their challenges, their heartaches and their visions for the future of all Native
         American living on reservations.

                                   Augsburg Peace and Justice Program                                 1997- Minneapolis, MN
         This film was commissioned by Augsburg College and documented the impact of the Center for Global Education and
         Experience on students at Augsburg College. The Center’s programming explores peace and social justice through
         community engagement.


Director of Housing Services           Central Community Housing Trust, (CCHT) now Aeon                       1994-1998
                                       Minneapolis, MN
Details: Responsible for fostering community partnerships within the neighborhoods served by CCHT developing social services for
the residents of CCHT housing, which included over 800 units of affordable housing in downtown Minneapolis. Organized and
facilitated services in the inner city for formerly homeless, former addicts and alcoholics, Somalian refugees, and street children.



General Pediatrician                 Brownsville Community Health Center (BCHC)                                 2006-2016
Chief of Pediatrics                  Brownsville, TX                                                            2011-2016
Details: Responsible for the fiscal management, procurement of supplies, and oversight of all medical staff (including four
pediatricians, nurse practioner, physician assistant, and eight certified medical assistants). Provided both outpatient and inpatient care
for children in the Lower Rio Grande Valley of Texas, one of the most medically underserved regions of the United States.
Approximately 70% of the children in the BCHC clinic are indigent patients. Another 30% receive Medicaid or SCHIP.
Approximately 90% of my patients’ parents speak only Spanish. Appointed as medical director for BCHC Campus Care Clinic in
April 2010, serving the indigent students in the local independent school district. Prior to appointment as Chief of Pediatrics in 2011,
served as a general pediatrician on the staff of BCHC, beginning in 2006. In 2011, created the “These Bones Won’t Heal: The
Fracture Fund” and solicited funds to provide on-going funding for indigent patients to cover the cost of orthopedic care for simple
fractures. Resigned as Chief of Pediatrics in 2014 to devote time to special projects focusing on immigration and advocacy for human
rights.


Co-Founder &              MedicoLegal Partnership for Children/RioGrande Valley (MLPC)                    2007-2016
Medical Director          Brownsville Community Health Center/Texas RioGrande Legal Aid, Brownsville, TX
Details: Initiated and organized the development of the first two operational medical-legal partnerships (MLP) in Texas, located in
San Antonio and Brownsville. As Medical Director of MedicoLegal Partnership for Children – Rio Grande Valley. Maintain the
partnership between Brownsville Community Health Center and Texas RioGrande Legal Aid, Inc. and promote MLP among all the
physicians and staff of the clinic. Participate in MLP activities on the state and national level, including service to the medical

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advisory committee for the National Center for Medical Legal Partnership. MedicoLegal Partnership for Children – Rio Grande
Valley was awarded the White House Champion of Change Award in 2011.

TEACHING

Director                    Community for Children: At the Border and Beyond                                 09/2006-present
UTRGV School of Medicine
Details: Created a 4-week elective rotation for medical students and residents from across the country, designed as the core
international health and community pediatrics curriculum for the Department of Pediatrics focused on the border of Mexico and
Texas, UTHSCSA. The curriculum has eight primary objectives: rights of the child; social determinants of disease and health;
clinical care in resource-poor regions; the impact of poverty, violence and immigration; advocacy; cultural humility; fostering a
culture of compassion among physicians and professional development. The CfC curriculum is addressed through didactics,
community outreach, advocacy projects, tailored Spanish-language classes, guided reflection and individual development counseling.
The rotation is offered two times per year with an average of 16 students and residents annually. Working with the community-based
organizations, the students and residents expand the organizations’ outreach, research and advocacy within the local community
creating positive change. CfC has trained 118 medical students, residents and fellows, from major academic medical schools from
across the US, Canada and Israel, since its inception. The Community for Children program is now under the auspices of UTRGV
School of Medicine,

Professor of Pediatrics                     Third-Year Pediatric Didactics                               07/2018-present
UTRGV School of Pediatrics
Details: Provided syllabus, NMBE style questions, didactic instruction on Common Acute Pediatric Illnesses and Human Rights and
Advocacy for third-year medical students on pediatric rotations. Training 50+ MSIII’s per academic year.

Professor of Pediatrics                   Medicine, Behavior and Society                                09/2017-present
UTRGV School of Medicine
Details: Provided syllabus, USMLE style question and presentation on social determinants of health: Access to Care: Critical
Access.

Professor of Pediatrics                      Mind, Brain and Behavior                                    09/2017-2018
UTRGV School of Medicine
Details: Facilitated problem-based learning classes with MSII’s for the Mind, Brain and Behavior Module, which is a module
combining Neurology, Psychiatry and Neurosciences.

Clinical Adjunct Associate Professor        Third-Year Pediatric Clerkship                                     09/2006-2016
UTHSCSA/RAHC
Details: Hands-on and didactic instruction for pediatric third- year medical students in pediatric patient care issues. Train three to four
students each academic semester.

RECENT HONORS

2018 Council on Community Pediatrics Outstanding Service in Advocacy Award, American Academy of Pediatrics Annual
Leadership Forum, March 2019, Chicago, IL.
2018 Health Policy Hero. National Center on Health Policy. To be awarded May 2019. Washington, DC.
2018 American Academy of Pediatrics (AAP) Clifford G. Grulee Award. Considered to be one of the greatest honors the Academy
can bestow upon one of its Fellows for service to children and to the Academy and its programs.
2015 American Academy of Pediatrics (AAP) Special Achievement Award for organizing medical care for Central American
immigrant families on the Texas/Mexico border during the surge of 2014.
2015 Texas Pediatric Society’s Central American Refugee Humanitarian Award
2014 Migrant Health Network – 30 “Clinicians Making a Difference” – Presented to clinicians from the U.S. and abroad who have
dedicated their lives to migrant health and the migrating poor
2012 American Academy of Pediatrics Local Heroes Award – Presented at the AAP Annual Meeting, New Orleans
2011 White House Initiative – Champions of Change – Awarded to Brownsville Community Health Center/Texas RioGrande Legal
Aid for Medical-Legal Partnership



RECENT GRANTS

American Academy of Pediatrics Disaster Funding - $40,000                                                 01/01/2019-12/31/2019
Funding to support Clinical Efforts at the Catholic Charities Rio Grande Valley Humanitarian Respite Center
                                                                    3
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Details: Joint project between UTRGV School of Medicine, Stanford University, Texas Children’s Hospital/Baylor College of
Medicine and Catholic Charities of the Rio Grande Valley. Texas Pediatric Society fiduciary. Funds to purchase medical supplies
and over-the-counter medications for the Humanitarian Respite Clinic.

Anonymous Donor - $50,000                                                                          01/01/2019-12/31/2019
Program funding from foundation to sponsor Interviewing Immigrant Children in Detention: Developing Training Modules for
Attorneys and Other Professionals
Details: Joint project between UTRGV Department of Pediatrics and Stanford University School of Medicine Department of
Pediatrics to develop training modules in best practice models in interviewing children, who have been previously traumatized and are
currently in U.S. governmental custody. These training modules are an effort to avoid re-traumatizing these children, while still
obtaining needed documentation of the conditions within the detention facilities where children are held. The modules and evaluation
results will be distributed nationally.

Proctor and Gamble - $9,960                                                                                  01/01/17-12/31/17
Community for Children – A Program for Physicians-in-Training Developing Leaders Capable of Creating Positive Systemic
Change
Details: Co-authored grant to support leadership development for medical trainees participating in Community for Children (CforC).
The grant will fund travel of nine medical students and residents to present their advocacy work at national conferences. In addition,
one outstanding fellow will receive intensive mentoring from CforC faculty, accompanying them to national meetings addressing
human rights issues, enabling this fellow to dialogue with the highest levels of American Academy of Pediatrics’ leadership.
Information about Community for Children is available at www.communityforchildren.org.

American Academy of Pediatrics/CATCH Implementation Grant - $12,000                                         04/2013-03/2014
Details: Co-authored grant and was one of 13 proposals of 108 applications funded. Grant was to implement “Bikes for Tikes” a
monthly health promotion program supervising bicycle rides along the City of Brownsville's new Hike & Bike trails, designed for
children (6-12 yrs) and their families. Funds were used to purchase bicycles & helmets and healthy snacks for the project. This
program was eventually integrated into the City’s recreation department. Helmets were given to all participant children.

American Academy of Pediatrics- Mentorship and Technical Assistance Grant; $1,855                             11/2010-11/2011
Details: Co-authored grant to obtain funds to support participation of professional meeting facilitator/evaluator at the inaugural
meeting of Texas Medical Legal Partnerships.

American Academy of Pediatrics, 2007 CATCH Residency Training Funds; $10,000                            03/2007-01/2009
Details: Co-Principal Investigator for development, implementation, and evaluation of curriculum for Community for Children
International Elective.

PENDING GRANTS

Project Title: South Texas Center for Biomedical Research on Hispanic Health
Williams-Blangero, Contact PI, Griffin M, Core Co-Leader on Community Engagement
Direct: 13,864,876, Indirect: $6,307,969, Total $20,182,845
Submitted, Scored 30, Pending Council Review

Project Title: Humanitarian Respite Clinic at the Catholic Charities of the Rio Grande Humanitarian Respite Center in
McAllen, TX,
UNICEF USA & Silicon Valley Foundations ongoing solicitations
Griffin Principal Investigator
Direct Costs: $2,500,000
Details: Providing healthcare services and ongoing case management for the recently released asylum seeking families from Central
America, released and approved by the Department of Homeland Security to travel north to family or sponsors and to remain in this
country pending immigration hearings. This is a partnership between Catholic Charities of the Rio Grande, UTRGV School of
Medicine, Texas Children’s Hospital/Baylor College of Medicine and Stanford University School of Medicine.

SELECT COMMUNITY/ACADEMIC PRESENTATIONS

Griffin M, (2018 February) Providing Trauma-Informed Care to Immigrant Patients. Presentation to Clinical Pastoral Education
Interns, Valley Baptist Medical Center, Harlingen, TX.

Griffin M, (2018 August) Invited Speaker, An Update on Immigration on the Border: Trauma in Immigrant Children. Brownsville
Independent School District School Nurses, Brownsville, TX.

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Rosenberg J, Sudanagunta S, Griffin M, (September 2018) Food Security in Colonias of Hidalgo County, Texas: A Needs Assessment
Analysis. Poster Presentation at UTRGV Second Annual Research Symposium, Edinburg, TX.

Griffin M, (2018 September) Access to Care: What Does This Mean? UTRGV Mind, Behavior and Society Module. Edinburg, TX.

Griffin M, (October 2018) Invited Speaker, Immigration as seen from the Border: Impact on Health. UTRGV AMA Chapter of
Medical Students. Edinburg TX.

Griffin M, (2018 December) Invited Speaker. Immigration as a Social Determinant of Health Along the Border. UTRGV Area
Health Education Program Office’s Continuing Education Seminars, “Healthcare Challenges Along the Border.” Brownsville, TX.


Griffin M, Advocacy in Pediatrics. UTRGV MSIII Didactic Sessions, (2018August, October, December) (2019 February, April).
Edinburg TX.

Gomez, Y, Griffin M, Acute Illnesses in Pediatrics. UTRGV MSIII Didactic Sessions, (2018 September, November) Edinburg, TX.

Griffin M, Berry L. Acute Illnesses in Pediatrics. UTRGV MSIII Didactic Sessions, (2019 March, May) Edinburg, TX.

Griffin M. (2019 May) Invited Speaker. Stories from the Immigration Frontlines: Why It Should Matter to Us All. UTRGV
Neuroscience Research Seminar Series. Edinburg, TX.

Griffin M. (2019 May) Invited Speaker for Preventive Medicine Residents. Immigration as Seen from the Border: Stories from the
Frontlines. Edinburg TX.

Griffin M. (2019-2020) Invited to assist with development of Global Health Tract for OB/Gyn Residents with focus on the Border.

Griffin M, Tapia B. (2019 Summer) UTRGV SoM Summer Course: Immigration Status as a Social Determinant of Health. Design
of Curriculum.

Griffin M. (2019-2020 Academic Year) UTRGV SoM Pediatric MSIV Elective: Community for Children. Design of Curriculum.


SELECT PRESENTATIONS

Griffin M, (2019 April) Invited Plenary Speaker. Advocating for Immigrant Children: Perspectives from the Border. American
Academy of Pediatrics Legislative Conference. Washington, DC.

Griffin M, Son M. (2019 March) Invited Grand Rounds Speaker. The Rights of a Child as Viewed through a Global Lens: Stories
from the Frontlines. Children’s Mercy Hospital, Kansas City, KS.

Griffin M, Son M. (2019 March) Invited Speakers. Ethical Considerations in Caring for the Global Child. Bioethics Center,
Children’s Mercy Hospital, Kansas City, KS.

Griffin M, (2019 March) Invited Grand Rounds Speaker. Immigration as seen from the Border: Stories from the Frontlines. INOVA
Fairfax Hospital for Children. Fairfax, VA.

Griffin M (2019 March) Invited Guest Speaker, On Call on the Border: Coordinating Children’s Care. DC, Virginia, and Maryland
Chapters of the American Academy of Pediatrics Spring Dinner and Symposium. Catholic University, Washington, DC.

Griffin M, (2019 March) Invited Leonard P. Rome CATCH Visiting Professor and Grand Rounds Speaker. Coming to a
Neighborhood Near You: Immigration Frontlines. Meetings with community and school leaders regarding authentic engagement.
Meeting with hospital administrators on the rights of a child and needed national health policy to protect immigrant children. Meeting
with faculty regarding curriculum design to promote resilience in physicians-in-training. Children’s National Medical Center.
Washington, DC.

Griffin M, (2019 March) Invited Grand Rounds Speaker. Immigration as seen from the Border: Stories from the Frontlines. The
University of Texas at Austin Dell School of Medicine. Austin, TX.

Griffin M, (2019 March) Invited Key Panelist, Migration and displaced children: current issues and potential solution. Coalition of
Centres in Global Child Health, American Academy of Pediatrics, and the International Pediatric Association at the 10th Annual
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Consortium of Universities of Global Health conference this Satellite Session will focus on health and nutrition issues among migrant
children around the world. Chicago, IL.

Griffin M, (2018 November) Invited Speaker. Immigration as seen from the Border: The Urgent Need for a Network. TEACH TX
Collaborative Conference, Houston, TX.

Griffin M, (2018 October) Invited Speaker. Immigration as seen from the Border: Stories from the Frontlines. Yale Immigrant
Health Initiative. Zoom Webinar. New Haven, CN.

Griffin M, (2018 October) Invited Guest Panelist, Immigration Crisis: Impact on Families and Children’s Health, Association of
Schools and Programs of Public Health Webinar: Academic Public Health and the Family Immigration Crisis.

Griffin M, (2018 October) Invited Key Panelist, Massachusetts General Hospital for Children’s 2018 Summit for Pediatric Global
Health, Boston, MA.

Griffin M, (2018 October) Invited Speaker. Immigration as seen from the Border: Stories from the Frontlines. Massachusetts General
Hospital/Harvard School of Medicine Grand Rounds. Boston, MA.

Griffin M, (2018 April) Invited Speaker. Trauma in Immigrant and Refugee Children. Invited speaker, American Academy of
Pediatrics Trauma-Informed Pediatric Provider Course, Houston, TX.

Griffin M, (2018 March) Invited Speaker. Unique Healthcare Challenges in Immigrant and Refugee Children. Invited speaker,
American Academy of Pediatrics Advocacy Lecture for The Society of Pediatric Anesthesia, Pediatric Anesthesiology 2018
Conference., Phoenix, AZ.

Griffin M, (2017 November) Immigrant and Refugee Children on the Border. Invited speaker, 14th Annual Conference on Forensic
Sciences: Child Abuse and Neglect, South Padre Island, TX.

Edwards K, Griffin M, Vandermeer R, (2017 October) Caring for Immigrant Children: Opportunities and Challenges. Invited
speaker, Texas Pediatric Society Annual Meeting, Plano, TX.

Griffin M, (2017 July) Immigrant and Refugee Children: Supporting Their Health and Development. Pediatric Grand Rounds
Presentation, Baylor College of Medicine Texas Children’s Hospital, Houston, TX.

Fabreau G, Griffin M, Kimball SL, Marlin RP, Rashid M, Scales D, Shah SK, (2017 June) Advocating for Change and Responding to
Political Shifts: Policy Implications of the Recent Canadian and U.S. Elections. North American Refugee Health Conference,
Toronto, Canada.

Griffin M, Linton JM, (2017 May) Immigrant Children Seeking Safe Haven – Stop the Detention of Children and Families. Invited
speaker. Presentation at the National Hispanic Medical Association 21st Annual Conference, Washington D.C.

Griffin M, (2017 March) Undocumented Immigrant Children: Supporting their Health and Development. Grand Rounds
Presentation, University of Texas Health Science Center at San Antonio, San Antonio, TX.

Griffin M, (2016 October) Undocumented Immigrant Children: Supporting Their Health and Development. Invited speaker.
Presidential Plenary Presentation at the American Academy of Pediatrics Annual Conference, San Francisco, CA.

Griffin, M., (2015 March) Immigration and the Militarization of the Texas/Mexico border: It’s effect on the health of children and
families. Invited speaker. Presentation to medical students from Stritch School of Medicine Loyola University Chicago, Chicago, IL.

Griffin, M., (2015 March) Immigration and the Militarization of the Texas/Mexico border: A Violation of Human Rights. Invited
speaker. Presentation to law students from Loyola University Chicago School of Law, Brownsville, TX.

Griffin, M., (2015 March) Children’s Lives on the Border: The Effect of Chronic Stress on Children in our School: A Resource Guide
for Texas School Nurse Organization. Presentation to Texas School Nurse Organization Region One, Edinburg, TX.

Griffin, M., Seifert, M., Son, M, Livingston, J., & Fisch, S. (2015 October). Children’s Lives on the Texas/Mexico Border: A
Pediatrician-led Community Response to Toxic Stress. Poster presentation at AAP Annual Conference, Washington, DC.




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                                       #:26775
Livingston, J., Griffin, M., Brooks, A., Monserrat, C., & Son, M. (2014 October). Transforming privilege in marginal spaces:
Teaching medical students on the Texas/Mexico border. Paper presented at the XI International Transformative Learning Conference,
Teachers College, Columbia University, New York City.

Griffin, M., & Seifert, M. (2014 February). Children’s lives on the border: Strategic doing. Summit meeting and workshops for 50
representatives from community-based organizations, legal institutions, schools, universities, churches, and synagogue, UTHSCSA
Regional Academic Health Center/Community for Children, Harlingen Cultural Arts Center, Harlingen, TX.

Livingston, J., Griffin, M., Monserrat, C., & Coryell, J. (2013 November). Preparing compassionate leaders: A novel approach in
medical education. Paper presented at American Association for Adult and Continuing Education, Lexington, KY.

Griffin, M., Son, M., Livingston, J., & Monserrat, C. (2012 October). Advocacy for children’s health and social justice on the
Texas/Mexico border. Poster presented at the AAP Annual Meeting, New Orleans, LA.

Griffin, M. (2012 February). Social justice and medicine: Opportunities and challenges along the border. Invited speaker.
Presentation to the National Board of Directors, Migrant Health Promotion, February 2012, Weslaco, TX.

Griffin, M. (2012 January). Roots of advocacy: Call to service among the poor. Invited speaker. Presentation to Union Theological
Seminary graduate students, Brownsville, TX.

Griffin, M. (2011 October). Top five things a woman needs to know about health care. Panel discussion including female physicians
and lawyers about important legal issues impacting women and family health care, Regional Academic Health Center, UTHSCSA,
Harlingen, TX.

Griffin, M., Livingston, J., Cass, A., Gutnik, L., & Stroik, J. (2011 July). Community-based advocacy training: Strategies and tools
for preparing pediatricians to meet the future. Poster presentation at AAP Future of Pediatrics Conference, Chicago, IL.

Griffin, M., Son, M., Fisch, S., Livingston, J., Monserrat, C., & Seifert, M. (2009 February). Community for Children: At the border
and beyond. Workshop presentation at the AAP Future of Pediatrics Conference, Anaheim, CA.


SELECTED PUBLICATIONS

Rosenberg J, Sudanagunta S, Griffin M. (2019 January) Correlation Between Immigration-Related Fear and Food Insecurity Among
Households in Colonias of Hidalgo County, Texas. Journal of Applied Research on Children: Informing Policy for Children at Risk.
pending publication.

Swamy P, Griffin MR, (2018 December) Supporting Our Immigrant Children. American Professional Society on the Abuse of
Children (APSAC) Advisor. Volume 30: Issue 4.

Swamy P, Russell EA, Mandalakas AM, Griffin MR, Migrating Children: The Need for Comprehensive Integrated Health Prevention
Measures. Current Tropical Medicine Reports. First Online: 16 April 2018.

Linton JM, Kennedy E, Shapiro AJ, Griffin M, Unaccompanied Children Seeking Safe Haven: Providing Care and Supporting Well-
being of a Vulnerable Population. Children & Youth Services Review, available online March 26, 2018, DOI information:
10.1016/j.childyouth.2018.03.043.pending print publication.

Livingston JM, Griffin M, Developing professional identities and fostering resilience in medical students and residents:
Transformative learning on the Texas-Mexico border. In T. Carter, C. Boden-McGill, & K. Peno (Eds.), Transformative learning in
professional contexts: Building resilient professional identities for work-based practice. Charlotte, NC: Information Age Publishing,
pending publication.

Linton JM, Griffin M, Shapiro AJ, AAP COUNCIL ON COMMUNITY PEDIATRICS. Detention of Immigrant Children. Pediatrics.
2017; 139(5): e20170483.

Linton JM, Griffin M, Shapiro AJ. AAP policy says no child should be in detention centers or separated from parents. AAP News,
March 13, 2017.

Griffin M, Linton JM. Crossing into a deeper understanding of care for immigrant patients. AAP Voices Blog. August 22, 2016.



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Livingston, J., Griffin, M., Brooks, A., Son, M., Monserrat, C (2014). Transforming privilege in marginal spaces: Teaching medical
students on the Texas-Mexico Border. In A. Nicolaides, & D. Holt (Eds.), Spaces of transformation and transformation of spaces:
Proceedings from the XI International Conference on Transformative Learning, Teacher’s College, Columbia University, New York
City, (pp. 347-354). Athens, GA: University of Georgia.

Griffin M., Son, M., & Shapleigh, E. (2014). Children’s lives on the border. Pediatrics, 133(5), e1118-e1120.



RECENT SERVICE -Medical

Board Member and President, Community for Children, Incorporated                     2015-present
Board Member and Chair, Migrant Clinician Network                                    2016-present
Member, Medical Advisory Committee, National Center for Medical Legal Partnership 2010-2011
Member, American Academy of Pediatrics (AAP)                                         2003-present
         Member, AAP Council on Community Pediatrics                                 2010-present
         Member, AAP Special Interest Group on International Medicine                2010-present
         Member, AAP Special Interest Group on Immigrant Child Health                2014-present
         Co-Chair, AAP Special Interest Group on Immigrant Child Health              2015-present
Member, Texas Pediatric Society (TPS)                                                2006-present
         Member, TPS Committee on Mental Health                                      2017-present
         Member, TPS Community Health Advocacy/CATCH/School Health Committee 2017-present
Invited Member, Texas Advocacy TEACH Collaborative, Coalition of Texas Pediatric 2017-present
         Residency Programs focused on training Pediatric Residents across the state
         to advocate for positive change for children.

Fluent in English, Proficient in Spanish




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                              Exhibit 7
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                                Declaration of Dr. Ryan Matlow



         I, Ryan Matlow, declare that the follow is based on my personal experience and is true
  and accurate:

         I am a practicing licensed psychologist and a Clinical Assistant Professor in the

  Department of Psychiatry and Behavioral Sciences at the Stanford University School of

  Medicine. In this position, I serve as the Director of Community Programs for Stanford’s Early

  Life Stress and Pediatric Anxiety Program. I am also a faculty member in the Stanford Human

  Rights and Trauma Mental Health Program. My clinical and research efforts and experiences

  focus on understanding and addressing the impact of stress, trauma, and adversity in children,

  families, and communities.

         I provide clinical service and training in trauma-focused psychological evaluation and

  therapy for children and families. I have worked extensively with immigrant children and

  families from Mexico, Central America, and South America. I am fluent in Spanish. I developed

  and implemented clinical interventions specifically tailored to address immigration-related

  trauma including experiences of family separation in this population.

          I collaborate extensively with attorneys and legal professionals to provide consultation

  on the consequences of child trauma exposure and human rights abuses to inform transitional

  justice and judicial processes. In this work, and in other consultation efforts, I have prepared and

  submitted expert reports, statements, and declarations documenting the expected impact of

  trauma, abuse, and victimization relevant to specific cases in local, federal, and international

  courts. A copy of my curriculum vitae is attached here to provide further information about my

  professional experiences.




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           From July 11- 13, 2018, I accompanied a Flores team visiting Casa Padre, a secure ORR

  detention shelter run by Southwest Key in Brownsville, Texas. In November 2018, with a Flores

  team, I visited Tornillo, a BCFS influx detention facility outside El Paso, Texas. Again, in March

  2019, I visited Homestead Temporary Shelter for Unaccompanied Children. The purpose of my

  visits was to assess the mental health and physical wellness of the children detained at these

  facilities.

           During my visits to Casa Padre, Tornillo and Homestead, I toured the facilities, observed

  children in the milieu, spoke with representative agency staff, and met with detained children to

  conduct interviews about their experiences while in custody. I met with children individually and

  in small group settings.

           My observations showed clear ongoing psychological harm directly attributable to

  detention and separation practices. The harms inherent in the detention of children are

  compounded by the separation from and lack of communication with any external source of

  support including parents, guardians and loved ones.

           While these ORR facilities differ, the fundamental conditions of detention are the

  same. Children are held in congregant care in secured, locked, and restricted environments with

  thousands of other unfamiliar children across a variety of ages. Casa Padre had 1400 boys from

  10-17 years old and Tornillo had about 2000 children from ages 13-17 (20% of whom were

  girls), and Homestead had about 2000 children from ages 13-17, split evenly between boys and

  girls.   The children come from different countries and cultures. Some children who speak

  indigenous languages had no one to talk with. At Casa Padre and Homestead children who spoke

  the same indigenous language were intentionally separated from each other.




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         Children have no freedom for mobility, personal choice, or privacy. At all three locations

  children are escorted everywhere. At Casa Padre, children are supervised in groups of 8 and at

  Homestead in groups of 12. Children reported they must move in groups to go anywhere. For

  example, at Casa Padre multiple children reported that seven others must need to go to the

  bathroom before a mandatory escort will be provided.

         These environments, which are highly structured and institutionalized, fail to provide for

  many of the children’s basic needs. For example, children have no access to supplemental food

  outside of regimented meal times. Children interviewed at Casa Padre reported being hungry.

  Children at Tornillo did not have a school program despite lengthy periods of detention. Children

  at Homestead report taking a shower longer than 5 minutes is a violation of the rules for which

  they can receive disciplinary action. At all places, children did not have adequate recreation time

  either outdoors or indoors.

         At Tornillo they did not have access to books, computers and other educational material.

  At Casa Padre, the younger children (ages 10-12) did not have access to age-appropriate

  recreation and play materials.

         At Homestead, children are threatened that they will receive reports that will result in

  prolonged detention and/or deportation if they break facility rules, such as touching other kids,

  taking more than 5 minutes to shower, or not eating their meals. Children report that the food is

  terrible and always the same thing; some children force-feed themselves so as not to violate the

  rules. Children report that the schedules and routines frequently change, which is a source of

  confusion, frustration and anxiety. A number of children reported being woken up at 6 a.m, but

  not having any activity until 8 a.m.




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          According to Homestead management, children are only allowed 10 minutes of telephone

  time twice a week which is their only contact outside the facility. Children, however, tend to

  report receiving just 5-7 minutes of phone time with family twice a week which they universally

  said was entirely insufficient to communicate with family members and access appropriate

  support resources. Children demonstrated clear distress around the limited opportunities and

  strict cut-offs for outside communication.

          Children are effectively held on lockdown. At Casa Padre, only certain staff have the

  keys that are necessary to go places within the building and to exit it. During our site visit, the

  deputy head of the facility could not open the door leading to the outside “recreation” area. She

  had to call two other staff members, one at a time, before they could open the door. At both

  facilities children express incredulity when asked if they could leave on their own. At Tornillo

  some children believed they would be shot if they tried to leave. Homestead is surrounded by a

  high fence with guards posted at locked gates.

          Children are frequently threatened both directly and indirectly that they and/or their

  family members’ immigration cases would be negatively impacted (including deportation) if

  they violate facility rules. Since the expressed policies, rules, and protections for children in

  these facilities were inconsistently enforced, a child would have little if any certainty what might

  be considered an infraction at any given moment. Children are led to believe that even small

  infractions will go in their court record and be considered in determining deportability.

  Additional threats for attempting to leave the facility include arrest and imprisonment by local

  police and a guarantee of deportation. Children are afraid to voice any desire to leave for fear of

  retaliation.




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          At Homestead especially, all children experience anxiety and fear around the rules and

  the threats used to coerce compliance. I met with one 15-year-old Guatemalan (indigenous) boy

  who had been separated from his father by CBP at the border in January 2019. He demonstrated

  pervasive anxiety and preoccupation about his father’s well-being and had only spoken with his

  father (who is still in custody) one time since their separation. He was clearly depressed and

  presented symptoms including concentration difficulty, somatic complaints, sadness, loss of

  appetite and sleep problems — all these symptoms onset following his separation and detention,

  and which were a marked change in his functioning prior to leaving Guatemala. Another child

  reported that he and his dorm-mates often cry at night out of sadness and desperation for their

  situation. He described his observations of other boys becoming increasingly hopeless and shut-

  down (especially those that do not have sponsors). This child also does not participate in sports

  due to religious beliefs and therefore has no opportunities for recreation. He had requested

  opportunities to practice and learn music but had not been allowed to.

          Children reported being bullied and harassed by their peers which was regularly

  unaddressed by facility staff. Children had poor knowledge and information about multiple

  aspects of their situation. They were not meaningfully informed of their legal rights including the

  right to an attorney and how to access an attorney. They were frequently unaware of the

  whereabouts or well-being of family members, especially those held concurrently in ICE

  custody.

          Children had no idea about how long they would be held and were unaware of the

  necessary steps for their release. In all cases, they were being held in custody for periods of time

  that extended well beyond what they had been told, for reasons that were unknown or unclear to

  the child.




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         Children at Casa Padre had grossly inadequate health care and little meaningful access to

  mental health resources. Multiple children reported medical ailments that were unaddressed for

  lengthy periods after being reported to staff. In general, facility staff was not qualified and lacked

  capacity to provide adequate medical, mental health, or education services to the children,

  especially children functioning within the context of intense distress related to their past and

  current experiences of adversity and trauma including family separation. At Tornillo there was

  no mental health care. The head of the facility said that ORR did not want mental health care

  provided. Many children expressed mistrust of facility staff, including medical and mental

  health providers (when present).

         In all three settings children are deprived of opportunities for activities, materials, and

  interpersonal interactions that are typical of child development and that promote healthy

  physical, emotional, and behavioral development.

         The conditions observed during these site visits are consistent with those that create

  trauma and that commonly result in post-traumatic stress and long-lasting functional impairment.

  The likelihood that a life event experienced by an individual is traumatic and will result in post-

  traumatic stress and other debilitating conditions is significantly heightened when the individual:

  (1) has limited sense of control, autonomy, or personal agency over what is happening to

  him/her; (2) has limited knowledge about his/her circumstances or expected outcomes; (3)

  perceives a lack of predictability, consistency, or security in his/her environment; (4) has limited

  access to social and family supports and/or protective resources; (5) experiences fear,

  helplessness, or horror; and (6) perceives constant and pervasive threat of danger in his/her

  environment.




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         These are the precise conditions that I observed and were reported by children at Casa

  Padre, Tornillo, and Homestead.

         Children held at these ORR shelters displayed the signs and symptoms of acute distress

  that are expected in reaction to ongoing trauma. In interviews, children were sad, tearful, and

  despondent. They expressed despair and hopelessness at not being able to be with and

  communicate with their families and for not knowing when and how they would be

  released. Overall, they demonstrated emotional flatness, numbing, and avoidance of thoughts

  and feelings related to their experience, as well as intrusive thoughts and memories (including

  nightmares) of their past and ongoing traumas. These are core symptoms of posttraumatic stress

  disorder (PTSD). The psychological symptoms of anxiety, depression, and PTSD, and the

  related manifestations, were found to be frequent and pervasive within the population, occurring

  multiple times a day, nearly every day, thereby meeting clinical significance for psychological

  disturbance.

         The acute forms of distress and functional impairment that were observed during site

  visits are expected to have a lasting and pervasive impact on the children detained. Trauma

  exposure – especially when experienced in childhood – is associated with increased risk for long-

  term psychological dysfunction and psychiatric disorders, including problems with emotions,

  behaviors, mood, learning, substance abuse, and interpersonal relationships.

         These problems and functional difficulties stem from the impact of traumatic stress on

  children’s development, where trauma exposure literally changes the structure and functioning of

  children’s brains and biological systems and, in particular, the stress response system. This has

  lasting implications for physical health and immune functioning. These trauma-related

  neurobiological alterations can be extremely difficult to reverse, as maladaptive neural pathways




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  and related behavioral responses become engrained over the course of development. The result

  is a profound and pervasive long-term impact on health outcomes that correspond with leading

  causes of death, early mortality, lost productivity, and high costs of care.

          Furthermore, the combination of deprivation and threat that is encountered in the

  institutionalized setting of childcare detention impairs the development of executive functioning,

  self-regulation, and adaptive living skills that are critical for future academic achievement,

  vocational performance, independent living, and interpersonal functioning.

          Both the short- and long-term consequences of childhood exposure to trauma and

  adversity such as forced detention and family separation are well-established and firmly

  documented in the scientific literature. Specific studies with immigrant children and families

  have empirically demonstrated outcomes consistent with those described above and have

  documented the negative impact of child detention and family separation on psychological well-

  being, physical health, family functioning, and economic and community stability.

          Research has shown that increased duration of exposure to traumatic stress – in this case,

  increased length of detention in these secure facilities with no meaningful communication with

  family – corresponds with a more pervasive impact on child development and a more profound

  and long-lasting impairment in psychological functioning. My clinical experiences with children

  previously or concurrently held in immigration detention demonstrate findings and outcomes that

  are consistent with the research literature.

          By subjecting the population of immigrant children to the traumas of detention, denial of

  safety and family separation, the government is causing an increase in the prevalence, risk, and

  severity of mental health, physical health, and social problems for the children, their families and

  society at large.




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         I declare under penalty of perjury that the foregoing is true and correct.


  Executed on this 28th day of May 2019.



  _____________________________

  Ryan Matlow, PhD - CA Licensed Psychologist (Lic.# PSY27178)




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                                  #:26787


                                   RYAN B. MATLOW, Ph.D.

                            Early Life Stress and Pediatric Anxiety Program
                           Department of Psychiatry and Behavioral Sciences
                                Stanford University School of Medicine
                                 1520 Page Mill Rd., Mail Code 5265
                                          Palo Alto, CA 94305
                                         Office: 650-724-8113
                                     Email: rmatlow@stanford.edu

                            California Licensed Psychologist: PSY 27178


                                    EDUCATION and TRAINING

2013-2014   Postdoctoral Fellowship, University of California, San Francisco
            San Francisco General Hospital Child and Adolescent Services
            Multicultural Clinical Training Program (APA accredited)

2012-2013   Predoctoral Clinical Psychology Internship, University of California, San Francisco
            San Francisco General Hospital Child and Adolescent Services
            Multicultural Clinical Training Program (APA accredited)

2008-2013   Ph.D., Child Clinical Psychology, University of Denver
            Specialization: Developmental Cognitive Neuroscience
            Doctoral Thesis: Attentional processes associated with victimization history and posttraumatic
              symptomatology in women exposed to intimate partner abuse

2005-2008   M.A., Psychology (Psychological Research), San Francisco State University
            Master’s Thesis: Time course of attentional bias in anxiety: Converging evidence of reaction time
             and eye movement measures

1999-2003   B.S., Cognitive Science, University of California, San Diego
            Specialization: Neuroscience
            Minor: Spanish Language Studies


                                       HONORS and AWARDS

2018        Lucile Packard Foundation for Children’s Health Project Grant
2018        Stanford Department of Psychiatry and Behavioral Sciences Small Grant
2017        Stanford Center for Clinical and Translational Research and Education Spectrum Pilot Grant for
            Population Health Sciences
2013-2014   Pritzker Foundation Maryon Stone Postdoctoral Fellowship
2011-2012   University of Denver Arts, Humanities, and Social Sciences Dissertation Fellowship
2011        University of Denver Graduate Student Professional Development Grant
2009-2011   University of Denver Graduate Affairs Committee Award for Research and Travel
2009-2011   University of Denver Graduate School of the Four Faculties Travel Grant
2009        International Society for the Study of Trauma and Dissociation David Caul Research Grant
2009        International Society for Traumatic Stress Studies Student Research Grant



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Ryan Matlow – Curriculum Vitae                                                                            2




                                        FACULTY EXPERIENCE

2016- current Clinical Assistant Professor
              Department of Psychiatry and Behavioral Sciences
              Stanford University School of Medicine

2014- 2016      Instructor
                Department of Psychiatry and Behavioral Sciences
                Stanford University School of Medicine


                                        CLINICAL EXPERIENCE

2017-current    Clinical Psychologist
                Child Anxiety Outpatient Clinic
                Lucile Packard Children’s Hospital (Stanford, CA)

2015-current    Clinical Psychologist
                Integrated Behavioral Health Services Program
                Ravenswood Family Health Center (East Palo Alto, CA)

2012-2014       Postdoctoral Fellow, Predoctoral Intern
                Multicultural Clinical Training Program (APA Accredited)
                Healthy Environments and Response to Trauma in Schools (HEARTS) Program
                San Francisco General Hospital Child and Adolescent Services
                Department of Psychiatry, University of California San Francisco (San Francisco, CA)

2010-2012       Group Therapy Co-lead
                Healthy Adolescent Relationship Project
                Department of Psychology, University of Denver (Denver, CO)

2009-2012       Doctoral Clinical Trainee
                Center for Child and Family Psychology
                Department of Psychology, University of Denver (Denver, CO)

2011-2012       Doctoral Clinical Trainee
                Family Therapy Clinic
                Department of Psychology, University of Denver (Denver, CO)

2010-2011       Clinical Trainee (practicum)
                Child Trauma Program
                Kempe Center for Prevention and Treatment of Child Abuse and Neglect, University of
                Colorado (Denver, CO)

2009-2010       Doctoral Clinical Trainee
                Developmental Neuropsychology and Learning Disability Clinic
                Department of Psychology, University of Denver (Denver, CO)




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Ryan Matlow – Curriculum Vitae                                                                                     3


                                          RESEARCH EXPERIENCE

2014- current Director of Community Research Programs
              Early Life Stress and Pediatric Anxiety Program
              Department of Psychiatry and Behavioral Sciences
              Lucile Packard Children’s Hospital at Stanford University School of Medicine

2014- current Faculty affiliate
              Human Rights in Trauma Mental Health Program
              Department of Psychiatry and Behavioral Sciences
              WSD Handa Center for Human Rights and International Justice
              Stanford University

2008-2013       Graduate Research Assistant
                Traumatic Stress Studies Group
                Department of Psychology, University of Denver

2007-2008       Research Coordinator
                San Francisco Treatment Research Center
                Department of Psychiatry, University of California San Francisco

2006-2008       Research Assistant
                Child Trauma Research Project
                Department of Psychiatry, University of California San Francisco

2006-2008       Graduate Research Assistant
                Motivation and Emotion Research Laboratory
                Department of Psychology, San Francisco State University


                                     PEER REVIEWED PUBLICATIONS

Liu, N., Basile, A., Matlow, R. B., Reiss, A. L., & Carrion, V. G. (under review). Ventrolateral prefrontal cortical
    activation to fearful faces in children with generalized anxiety disorder: A functional near-infrared
    spectroscopy (fNIRS) study.

Matlow, R. B., Alvarez, V., Cortez, C., Rettger, J. P., Reicherter, D., & Carrion, V. G. (in preparation).
   Addressing mental health needs in community settings: Development and implementation of wellness
   programs.

Matlow R. B. & Reicherter, D. (2018, November 21). Reducing protections for Noncitizen children –
   Exacerbating harm and trauma. New England Journal of Medicine. doi: 10.1056/NEJMp1814340

Matlow, R. B., & DePrince, A. P. (2015). The impact of appraisals and context on readiness to leave
   relationships following intimate partner abuse. Violence Against Women, 21, 1043-1064. doi:
   10.1177/1077801215590668

Prochaska, J. J., Fromont, S. C., Wa, C., Matlow, R. B., Ramo, D. E., & Hall, S. M. (2013). Tobacco use and its
    treatment among young people in mental health settings: A qualitative analysis. Nicotine and Tobacco
    Research, 15, 1427-1435. doi: 10.1093/ntr/nts343




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Ryan Matlow – Curriculum Vitae                                                                                      4


Matlow, R. B., & DePrince. A. P. (2013). The influence of victimization history on PTSD symptom expression
   in women exposed to intimate partner violence. Psychological Trauma: Theory, Research, Practice, &
   Policy, 5, 241-250. doi: 10.1037/a0027655

Matlow, R. B., Gard, D. E., & Berg, D. J. (2012). Difficulty disengaging from threat in anxiety: Initial evidence
   for delayed response execution. Journal of Experimental Psychopathology, 3, 455-469.


                            BOOK CHAPTERS AND OTHER PUBLICATIONS

Matlow, R.B. (2019). General principles of psychotherapy for youth exposed to traumatic stress. In V. Carrion
   (Ed.), Assessing and Treating Youth Exposed to Traumatic Stress. American Psychiatric Association
   Publishing, Inc.: Washington, DC.

Matlow, R.B., & Carrion, V.G. (2018). Caring for students with mental health issues: Stress and trauma. In L.
   Roberts (Ed.), University Student Mental Health: A Guide for Psychiatrists, Psychologists, and Leaders
   Serving Higher Education. American Psychiatric Association Publishing, Inc.: Washington, DC.

Reicherter, D., Reed, D., Williamson, R., & Matlow, R. (2016). Creating lab reports on psychological outcomes
    of political violence in human rights criminal cases: The Human Rights in Trauma Mental Health Laboratory
    at Stanford University. In B. van Schaack & D. Reicherter (Eds.), Cambodia’s Hidden Scars: Trauma
    Psychology and the Extraordinary Chambers in the Courts of Cambodia, 2nd Edition (268-276). Phnom Penh,
    Cambodia: Documentation Center of Cambodia.

Matlow, R. B., & Romero, M. B. (2016). Addressing trauma and attachment in Latino immigrant youth and their
   families. StressPoints: A Quarterly eNewsletter of the International Society for Traumatic Stress Studies.
   http://sherwood-
   istss.informz.net/admin31/content/template.asp?sid=47180&brandid=4463&uid=1019024656&mi=5308153
   &mfqid=24888590&ptid=0&ps=47180


                                 CONSULTATION AND EXPERT REPORTS

Matlow, R. B., Carrion, V. G., Reicherter, D., Wang, N. E., & Wise, P. (2018). Suporting the Mental Health of
   Migrant Children: Consulting Lawyers in Interviewing Children for the Flores Settlement. Consultant’s
   report on guidelines and recommendations for training attorneys and paralegals in interviewing children
   Center for Human Rights and Consitutional Law in the case of Flores vs. Sessions. Stanford, CA.

Matlow, R. B., Wang, N. E., Williamson, J., Wise, P., & Young, D. (2018). Mental Health and Wellness of
   Children Detained by United States Immigration and Customs Enforcement and Kept Separated from their
   Families. Expert report produced for the Center for Human Rights and Consitutional Law in the case of
   Flores vs. Sessions. Brownsville, TX.

Matlow, R. B., Kletter, H., Wilson, H., Hamilton, M., Lugo, A., Reicherter, D., & Carrion, V. G. (2018).
   Statement on the Impact of Parent-Child Separation on Parents’ Ability to Effectively Participate in Asylum
   Proceedings. Expert statement prepared for Kids in Need of Defense (KIND) for use as pro se materials in
   asylum proceedings.

Reicherter, D. & Matlow, R. B. (2018). Mental Health Outcomes of Rape, Mass Rape, and other Forms of
    Sexual Violence and Forced Marriage and Forced Pregnancy. Expert report produced by the Human Rights
    and Trauma Mental Health Program for the case of the International Criminal Court Prosecutor v. Dominic



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Ryan Matlow – Curriculum Vitae                                                                                     5


    Ongwen. Stanford, CA.

Brunner, J., Joseff, K., Matlow, R.B., Rahter, J., Reicherter, Dr., & Van Schaack, B. (2017). Mental Health
   Consequences Following Release from Long-Term Solitary Confinement in California. Consultative report
   produced by the Human Rights and Trauma Mental Health Program for the Center for Constitutional Rights
   in the case of Ashker v. The Governor of California.

Reicherter, D., Matlow, R. B., Reed, D. E., Gray, G., & Van Schaack, B. (2016). The Mental Health Outcomes of
    Rape, Mass Rape, and other Sexual Violence. Expert report produced by the Human Rights and Trauma
    Mental Health Program for the case of the International Criminal Court Prosecutor v. Jean Pierre Bemba
    Gombo. Stanford, CA.


                                 SELECTED CONFERENCE PRESENTATIONS

Espil, F.M, Matlow, R.B., Goldman Rosas, L., Lara, J.E., Litke, S.G., Latu, M.K., & Carrion, V. (2018).
   Implementing evidence-based mental health care in East Palo Alto Schools. Poster presentation at the 16th
   Annual Stanford Center for Population Health Sciences Community Health Symposium, Stanford, CA.

Matlow, R.B. (2017, November). Addressing the complex experience of traumatic stress for Latino immigrants in
   the current political climate. Symposium presentation at the 33rd Annual Meeting for the International
   Society of Truamatic Stress Studies, Chicago, IL.

Altamirano, O., Bradley, T., Basile, A., Espil, F., Matlow, R., & Carrion, V. (2017, November). Sex moderates
    the association between stress response and locus of control. Poster presentation at the 33rd Annual Meeting
    for the International Society of Truamatic Stress Studies, Chicago, IL.

Nuñez, A., Bradley, T., Basile, A., Espil, F., Matlow, R., & Carrion, V. (2017, November). The relative impact
   of locus of control and interpersonal relationships on involuntary stress responses, anxiety, and depression in
   high adversity child population. Symposium presentation at the 33rd Annual Meeting for the International
   Society of Truamatic Stress Studies, Chicago, IL.

Maldonado, Y., Fuentes Afflick, E., Flores, G., & Matlow, R. (2017, May). Health and Mental Health Issues of
   Children in Immigrant Families. Panel presentation at Stanford Child Health and Immigration Conference.
   Stanford, CA.

Matlow, R. (2017, February). Complex Trauma in Childhood: Implications for Criminal Justice. Invited lecture
   at the 2017 California Attorneys for Criminal Justice Capital Case Defense Seminar. San Diego, CA.

Trent, L., Basile, A., Matlow, R., Reichert, E., Read, K., & Carrion, V. (2016, October). Implementing Evidence-
   Based Assessment in Routine Clinical Care: Outcomes and Future Directions. Poster presentation at the
   annual meeting of the Association for Behavioral and Cognitive Therapies (ABCT), New York, NY.

Matlow, R.B., Alvarez, V., Cortez, C., Rettger, J.P., Reicherter, D., & Carrion, V.G. (2016, May). Addressing
   Mental Health Needs in Community Settings: Development and Implementation of Wellness Programs.
   Poster presentation at the 14th International Conference for Community Campus Partnerships for Health
   (CCPH), New Orleans, LA.

Bradley, T.B., Matlow, R., & Carrion, V. (2015, November). A school-based yoga and mindfulness curriculum to
   promote student health and wellness: program implementation and a neuroscientific evaluation. Poster
   presentation at Advancing School Mental Health Conference, New Orleans, LA.



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Ryan Matlow – Curriculum Vitae                                                                                    6




Matlow, R. B., Shirk, S. R., & DePrince, A. P. (2012, November). Examining the overlap between trauma
   exposure and bipolar disorder. Presentation at the 28th Annual Meeting of the International Society for
   Traumatic Stress Studies, Los Angeles, CA.

Matlow, R. B. & DePrince, A. P. (2011, November). The impact of appraisal processes on readiness to leave an
   abusive relationship. Presentation at the 27th Annual Meeting of the International Society for Traumatic
   Stress Studies, Baltimore, MD.

Matlow, R. B. & DePrince, A. P. (2010, November). Factors influencing readiness to change in female victims of
   domestic violence. Presentation at the 44th Annual Meeting of the Association for Behavioral and Cognitive
   Therapies, San Francisco, CA.

Matlow, R. B. & DePrince, A. P. (2009, November). The influence of victimization history on symptom
   expression. Poster presentation at the 25th Annual Meeting of the International Society for Traumatic Stress
   Studies, Atlanta, GA.

Matlow, R. B., Gard, D. E., Berg, D. J., Krausova, M., & Jones, R. (2008, October). Difficulty disengaging from
   affective stimuli in anxiety: Converging evidence of reaction time and eye movement. Poster presentation at
   the 48th Annual meeting of the Society for Psychophysiological Research, Austin, TX.

Matlow, R.B., Gard, D., Lima, M., Bergstrom, J., Krausova, R., & Rao, S. (2007, November). Attention bias in
   chronic pain patients: Difficulty disengaging from negative stimuli. Poster presentation at the 41st Annual
   Association for Behavioral and Cognitive Therapies Convention, Philadelphia, PA.

Matlow, R., Ghosh Ippen, C., & Lieberman, A. (2007, August). Ethnic differences in women's expression of
   PTSD and related symptoms. Poster presentation at the 115th Annual American Psychological Association
   Convention, San Francisco, CA.

Matlow, R. & Gard, D. (2007, May). The role of attention, fear, anxiety, and trauma in a chronic pain
   population. Poster presentation at the San Francisco State University Graduate Research Showcase, San
   Francisco, CA.


               SELECTED LECTURES, TRAININGS, and DIDACTIC PRESENTATIONS

 Kletter, H., & Matlow, R. (2018, September). Cue Centered Therapy. Invited training for staff at the University
    of California San Francisco Child and Adolescent Services staff and trainees from the Multicultural Clinical
    Training Program. University of California San Francisco. San Francisco, CA.

 Matlow, R. (2018, September). Impact of Family Separation on Child Mental Health and Development. Invited
   presentation at the conference for Humanitarian Crisis at the Border – Family Separation and Detention:
   Challenges and Responses. University of Texas El Paso. El Paso, TX.

 Matlow, R. (2018, March). Youth Trauma Treatment and Trauma and Systems. Invited two-part didactic
   training for interns and trainees at the Community Health Awareness Council. Mountain View, CA.

 Matlow, R., & Bradley, T., (2018, February). Learning to Thrive: Fostering Resilience and Healthy
   Development to Overcome Adversity and Trauma. Invited presentation to the Santa Clara County School
   Boards Association. San Jose, CA.




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Ryan Matlow – Curriculum Vitae                                                                                 7


Kletter, H., & Matlow, R.B. (2017, October). Impact of Domestic Violence on Youth. Invited presentation at the
    9th Annual Ob/Gyn Domestic Violence Forum, Department of Obstetrics and Gynecology, Santa Clara Valley
    Medical Center, San Jose, CA.

Matlow, R. (2017, May). Defining and Understanding Stress and Trauma in the Community. Invited
   presentation at the One East Palo Alto’s 10th Annual Family Awareness Night. East Palo Alto, CA.

Matlow, R. (2017, March). The Neurodevelopmental Impact of Child Traumatic Stress. Invited presentation for
   staff at The Primary School. East Palo Alto, CA.

Matlow, R., & Kletter, H. (2017, January). Stanford Cue Centered Therapy: Training for Behavioral Healthcare
   Service Providers. Hosted training for community partners of the Early Life Stress and Pediatric Anxiety
   Program, Palo Alto, CA.

Matlow, R. (2016, October). The Neuroscience of Stress and Trauma: Impact and Interventions. Invited
   presentation at the Los Altos High School Science, Technology, Engineering, and Mathematics Weeks, Los
   Altos, CA.

Matlow, R. (2016, October). The Neurodevelopmental Impact of Traumatic Stress: A Context for Promoting
   Health and Justice. Invited presentation at the Habeus Corpus Resource Center Fall Conference 2016 on
   Understanding, Investigating, and Presenting Trauma in Your Case, San Francisco, CA.

Matlow, R., & Kletter, H. (2016, September). Stanford Cue Centered Therapy. Invited training for Ponce Health
   Sciences University Child and Adolescent Psychiatry Program, Ponce, PR.

Kletter, H., & Matlow, R. (2016, September). Stanford Cue Centered Treatment Protocol. Invited training at
    Stanford Youth Solutions, Sacramento, CA.

Matlow, R. (2016, July). Responding to Stress and Trauma in Youth: Taking Care of Yourself and Your
   Community while Taking Care of Others. Invited training for team leaders and administrative staff at City
   Year San Jose/Silicon Valley, San Jose, CA.

Kletter, H., & Matlow, R. (2016, May). Stanford Cue Centered Treatment Protocol. Invited training at the
    Center for Youth Wellness, San Francisco, CA.

Matlow, R. (2016, January). Community-level approaches for addressing traumatic stress. Invited lecture at
   Stanford University School of Medicine Department of Psychiatry and Behavioral Sciences Grand Rounds,
   Stanford, CA.

 Matlow, R. (2015, August). Trauma-informed approaches for managing challenging behaviors. Invited
   workshop training for staff at the Boys and Girls Club of Silicon Valley, San Jose, CA.

Wilson, H., Matlow, R., Kessler, M., & Lembke, A. (2015, May). Teen mental health and your family: Practical
   information and insights. Panel presentation at Health Matters: Stanford Medicine Community Day,
   Stanford, CA.

Matlow, R. B. & Kletter, H. (2015, April). Developing trauma-informed systems of care. Invited workshop at
   Center for Youth Wellness / Bayview Children’s Health Center, San Francisco, CA.

Matlow, R. B., & Rettger, J. P. (2014, November). Developing trauma-informed practice to support student
   health and healing. Presentation at Northern California Safe and Health Schools Conference, Berkeley, CA.



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Ryan Matlow – Curriculum Vitae                                                                                  8




Matlow, R. B. & Dorado, J. (2014, April). Transforming trauma: Building safe and supportive trauma-informed
   systems of care. Presentation at the 20th Annual Northern California Child Sexual Abuse Awareness
   Conference, Davis, CA.

Matlow, R. B. & Farahmand, F. (2014, May). The impact of stress and trauma on the developing child and
   classroom-based strategies to support students in need. Professional development training for Leap Arts in
   Education program, San Francisco, CA.


                                 TEACHING and SUPERVISION EXPERIENCE

2014-current    Department of Psychiatry and Behavioral Sciences, Stanford University School of Medicine
                Director of Community Programs: Early Life Stress and Pediatric Anxiety Program
                Clinical Mentorship, Supervision, and Consultation
                Clinical Research Supervision
                Research Mentorship, Consultation, and Education

2008            Department of Psychology, University of Denver
                Graduate Teaching Assistant: Research Methods

2006-2007       Psychology Department, San Francisco State University
                Graduate Teaching Assistant: Introduction to Behavioral Statistics

Clinical Research Supervision
John Rettger, Ph.D., Clinical Research Coordinator 2 (2014 – current)
Travis Bradley, M.P.P., Clinical Research Coordinator 2 (2014 – current)
Robert Borah, B.A., Lab Manager/Associate Clinical Research Coordinator (2017 – current)
Alejandro Nuñez, B.A., Assistant Clinical Research Coordinator (2016 – current)
Jannet Lara, B.A., Assistant Clinical Research Coordinator (2016 – current)
Yamilka Alsina, M.D., Assistant Clinical Research Coordinator (2017 – current)
Tyler Harvey, B.A., Assistant Clinical Research Coordinator (2017 – current)
Laila Soudi, M.Sc., Assistant Clinical Research Coordinator (2017 – 2018)
Alex Basile, B.S., Lab Manager/Administrative Services Administrator (2014 – 2017)
Lindsay Trent, Ph.D., Postdoctoral Scholar (2014 – 2017)
Jairo Vélez, B.A., Clinical Research Coordinator 1 (2015 – 2017)
Olivia Altamirano, B.A., Assistant Clinical Research Coordinator (2016 – 2017)
Katherine España, B.A., Clinical Research Coordinator 1 (2014 – 2016)
Sophia Schoenberg, B.S., Assistant Clinical Research Coordinator (2015 – 2016)

Doctoral Dissertation Committee Membership
Kristina Mendez, Ph.D. candidate, Palo Alto University (proposed December, 2017)
    Doctoral Thesis: Culturally Adapted Yoga for Newcomer Immigrant Adolescents

Clinical Mentorship and Consultation
Veronica Alvarez, MSW, Wellness Educator/Clinical Research Coordinator 2 (2014-current)
Cristina Cortez, MFT, Wellness Educator/Clinical Research Coordinator 2 (2015-current)
Cynthia Yee, MFTi, Wellness Educator/Clinical Research Coordinator 2 (2017-current)
Mele Latu, One East Palo Alto Behavioral Health Advisory Group Ambassador Team Coordinator (2016 –
    current)
Viliami Young, One East Palo Alto Behavioral Health Advisory Group Ambassador Team (2017 – current)



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Abel Velasquez, One East Palo Alto Behavioral Health Advisory Group Ambassador Team (2017 – current)
Carlos Jalpa, One East Palo Alto Behavioral Health Advisory Group Ambassador Team (2017 – current)
Ligia Hernandez, One East Palo Alto Behavioral Health Advisory Group Ambassador Team (2017 – current)

Visiting Scholars
Susanna Cruylles, M.D., International Visiting Scholar, Principe de Asturias Hospital, National Health System,
    Spain (2015, 2018)
Sophie Borst, Ph.D., International Visiting Scholar, Curium/LUMC, Netherlands (2014-2015)

Research Mentorship, Consultation, and Education
Audrey Ho, M.S., Post-baccalaureate Intern (2018 – current)
Alina Liao, M.B.A./M.A. (Education), Stanford Graduate School of Business (2016 – current)
Ashley Edwards, M.B.A./M.A. (Education), Stanford Graduate School of Business (2016 – current)
Jonathan Lee, M.D., M.B.A., Medical Resident, Stanford University School of Medicine (2015 – current)
Kristina Mendez, B.A., Psychology Doctoral Student, Palo Alto University (2015 – current)
Tyler Harvey, Undergraduate Summer Intern, St. Olaf University (2015 – 2016)
Alan Huang, High School Intern, Palo Alto High School (2015 – 2016)
Matheson Kuo, High School Summer Intern, Castilleja School (2015)
Iyahna Smith, Undergraduate Summer Intern, Howard University (2015)
Michelle Douglas, Undergraduate Summer Intern, Boston College (2015)
Rachel Sivek, B.S., Medical Student Clerkship, George Washington University (2015)
Lara Tully, M.D., Child Psychiatry Fellow, Stanford University School of Medicine (2015)
Thomas Ford, Undergraduate Intern, Stanford University (2015)


                                 COMMITTEE and SERVICE EXPERIENCE

2017-current    Community Health Awareness Council (CHAC) Board of Directors
                Community Representative

2015-current    Youth Empowerment and Strategies for Success Collaborative, One East Palo Alto
                Neighborhood Improvement Initiative
                Participant/collaborator; Focus Area Workgroup co-lead

2015-current    MindRight Youth Mental Health Text Messaging Services
                Clinical Advisor

2014            Administrative Space-sharing Committee for San Francisco General Hospital Division of
                Infant, Child, and Adolescent Psychiatry, University of California San Francisco
                Committee member representing Child and Adolescent Services

2012-current    Journal of Psychiatric Research
                International Society for Traumatic Stress Studies Annual Meeting
                Journal of Traumatic Stress
                Journal of Interpersonal Violence
                Psychological Trauma: Theory, Research, Practice, and Policy
                Peer Reviewer for journal article and conference submissions

2010-2012       Committee for the Development of a Campus Climate Survey, Center for Multicultural
                Excellence, University of Denver
                Survey Co-author



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Ryan Matlow – Curriculum Vitae                                                                            10




2009-2012       Multicultural Research Group, Department of Psychology, University of Denver
                Coordinator, Student Member

2010-2011       Diversity Committee and Central Committee, Department of Psychology Graduate Student
                Admissions, University of Denver
                Student Member, Child Clinical Psychology Program


                                 CLINICAL TRAINING AND CERTIFICATION

Cue Centered Therapy for Youth Experiencing Posttraumatic Symptoms, Therapist and Trainer
Practicewise, LLC Managing and Adapting Practice (MAP), Certified Therapist and Instructor
Trauma-Focused Cognitive Behavioral Therapy, Certified Therapist


                                      PROFESSIONAL MEMBERSHIP

2007, current   American Psychological Association
2016-current    Community Campus Partnerships for Health
2009-current    International Society for Traumatic Stress Studies
2007, 2010-11   Association for Behavioral and Cognitive Therapies
2008            Society for Psychophysiological Research


                                          LANGUAGE FLUENCY

English
Spanish




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                                                   The    NEW ENGLA ND JOURNAL                                                           of   MEDICINE




                                                                                                                        Perspective            ﻿



                                                   Reducing Protections for Noncitizen Children —
                                                   Exacerbating Harm and Trauma
                                                   Ryan Matlow, Ph.D., and Daryn Reicherter, M.D.​​




                                                           O
                                                                    n June 26, 2018, a federal judge ordered the
Reducing Protections for Noncitizen Children




                                                                                                                                         out appropriate and independent
                                                                    Trump administration to reunite families                             monitoring. According to the pro-
                                                                                                                                         posal, the goal of the regulations
                                                                    that it had separated at the U.S.–Mexico                             is to reduce operational difficulties
                                                            border. As of mid-October, however, an analysis by                           stemming from state licensing re-
                                                                                                                                         quirements for housing children
                                                            the American Civil Liberties Union    curity (DHS) and Health and Hu-        and families who are undergoing
                                                            showed that 245 children were still   man Services (HHS) have released       immigration proceedings.
                                                            in government custody. About half     a proposal (DHS Docket No.                 We believe that this proposal
                                                            those children remained in the        ICEB-2018-0002) to establish new       presents a grave and urgent risk to
                                                            United States when their parents      regulations to replace the existing    the health and well-being of non-
                                                            were deported and were not seek-      standards of care for noncitizen       citizen children and their families
                                                            ing reunification; the other half     children. The current standards        and would have important nega-
                                                            were still waiting to be reunited     were established by the 1997 Flores    tive consequences for the United
                                                            with their parents.1 Meanwhile,       Settlement Agreement, which re-        States. Children and families are
                                                            the total number of undocument-       sulted from a class action lawsuit     already being harmed because of
                                                            ed immigrant children in U.S. gov-    filed against the government in        the effects of separation, deten-
                                                            ernment custody has reached un-       response to the mistreatment of        tion, and the failure to provide
                                                            precedented levels (more than         immigrant children in U.S. cus-        appropriate oversight and ensure
                                                            14,000 as of mid-November), and       tody. Although the proposed reg-       safety for those in government
                                                            President Donald Trump continues      ulations mirror much of the lan-       custody and care. In addition, chil-
                                                            to crack down on immigrant fam-       guage in the Flores Settlement         dren and families seeking asylum
                                                            ilies seeking asylum.                 Agreement, the new proposal in-        and refuge are negatively affected
                                                                As part of the ongoing effort     cludes provisions that would per-      by deterrence efforts that result in
                                                            to deter immigrants from attempt-     mit the detention of noncitizen        denial of basic human rights and
                                                            ing to enter the United States,       children and their families for in-    access to resources such as appro-
                                                            the Departments of Homeland Se-       definite periods in facilities with-   priate medical care. We fear that


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       overturning the Flores Settlement       development of neurologic and           or experienced trauma while in
       Agreement would allow these             biologic systems.3 Children’s ex-       DHS custody, even when facilities
       harms to continue and might even        pected neurobiologic adaptations        were purportedly operating under
       exacerbate them.                        to separation from caregivers and       the standards of the Flores Settle-
           One of the stated aims of the       to the conditions of detention will     ment Agreement.2,5 Children have
       HHS Administration for Children         prove problematic in the context        reportedly been harmed by the
       and Families is to “address the         of society at large. The removal        failure to provide appropriate care
       needs, strengths and abilities of       of the protective buffer of a sup-      and monitoring, including harm
       vulnerable populations,” including      portive caregiver — because of          from serious delays in access to
       refugees and immigrants. But the        both separation and the expected        necessary medical intervention,
       proposed regulations would ulti-        consequences of detention on fam-       exposure to physical and sexual
       mately result in the traumatization     ily caregiving practices — could        assault; and the administration of
       of children and families in the cus-    have detrimental effects on child       psychotropic drugs for the purpos-
       tody and care of the administra-        development. Children may learn,        es of managing challenging be-
       tion’s Office of Refugee Resettle-      for example, that they cannot rely      havior. Despite evidence of ongoing
       ment and the U.S. government.           on the presence of a trusted adult      abuses and violations of existing
           Our concerns stem from the          to ensure safety and emotional          standards, the proposed regula-
       clear understanding in the medi-        regulation; resulting short-term be-    tions would loosen oversight over
       cal and mental health communi-          havioral and psychological coping       detention conditions, permitting
       ties that the indefinite detention      responses are likely to create prob-    a form of self-licensing and elim-
       of children and families is a form      lems in future family, community,       inating state, local, and attorney
       of trauma and is likely to cause        and educational contexts. It is         inspections. Given the less rigor-
       lasting psychological harm. Deten-      firmly established that childhood       ous standards and monitoring
       tion is harmful to individual and       trauma is associated with an in-        that would be established under
       family well-being and can have ad-      creased risk for psychological dys-     the new regulations, such harms
       verse effects on the functioning        function, including severe and          are likely to continue and to pro-
       of children and families.2 Children     impairing psychiatric disorders,        liferate.
       and families in detention often ex-     ranging from mood and anxiety               We believe that there are several
       perience pervasive emotional dis-       disorders to substance abuse and        alternatives to the proposed regu-
       tress — including sadness, despair,     personality disorders. Furthermore,     lations that could minimize risks
       worry, and frustration — as well        the profound, long-term negative        for noncitizen children and fami-
       as physical restriction and poor        physical and mental health out-         lies. First, we suggest that DHS
       health, social impairment, and          comes associated with childhood         and HHS adhere to guidelines es-
       spiritual despair. Children and         exposure to trauma and adversity        tablished by the Substance Abuse
       families are stripped of their au-      include most leading causes of          and Mental Health Services Ad-
       tonomy and right to self-determi-       death, early mortality, lost produc-    ministration for key principles of
       nation and are left with little or no   tivity, and high costs of care.4        a trauma-informed approach in
       information about the possibility       Exposing noncitizen children and        behavioral health service sectors,
       of or timeline for release; this lack   families to additional trauma is        which include safety; trustworthi-
       of personal control and agency          therefore likely to increase the bur-   ness and transparency; peer sup-
       exacerbates their trauma. What’s        den on the U.S. health care system.     port; collaboration and mutuality;
       more, although state-licensed fa-           There is also a real risk that      empowerment, voice, and choice;
       cilities are currently required to      families detained in government         and sensitivity to cultural, histori-
       provide educational services to         custody will be exposed to life-        cal, and gender issues. Second, we
       children in their care (with stan-      threatening circumstances. Previ-       recommend that the current stan-
       dards for student-to-teacher ratios,    ous research and policy analysis        dards established by the Flores
       for example), the removal of state      has revealed that DHS “facilities       Settlement Agreement be upheld,
       licensing requirements would elim-      do not meet the basic standards         rigorously enforced, and strength-
       inate these standards.                  for the care of children in resi-       ened. Third, we believe that the
           We know that exposure to            dential settings,”2 and there have      Trump administration could ad-
       chronic stress, adversity, and          been multiple cases of noncitizen       dress the influx of noncitizen chil-
       trauma in childhood affects the         children who were gravely harmed        dren and families in ways that


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                                                                         Noncitizen       ID
                                                                                    Children
                                  #:26800

            would not exacerbate their long-             traumatization of noncitizen chil-         fects of exposure to traumatic
            term trauma, such as discontinu-             dren and families by engaging in           stress during childhood, and we
            ing family-detention and family-             indefinite detention, not only be-         can testify to the related costs and
            separation practices under all but           cause of the human-rights viola-           consequences for families, com-
            the most extreme circumstances,              tions inherent in this practice, but       munities, and systems of care.
            providing families with options              also because of the high costs that          Disclosure forms provided by the author
            for housing in “least restrictive”           would be imposed on our health             are available at NEJM.org.
            settings, and providing access to            care systems and the potential
            appropriate health and education-            damage to the international rep-           From the Department of Psychiatry and Be-
                                                                                                    havioral Sciences, Stanford University
            al services for children (see box).          utation of the United States that          School of Medicine, Stanford, CA.
               The U.S. government has a duty            would result.
            to protect children in its custody              Health professionals have an            This article was published on November 21,
            and care, rather than to punish,             immediate opportunity to relay             2018, at NEJM.org.

            criminalize, and further trauma-             concerns about the harms asso-
                                                                                                    1. American Civil Liberties Union. Family
            tize people seeking refuge and asy-          ciated with recent and proposed            separation: by the numbers. October 2018
            lum. The scientific literature has           changes to U.S. immigration pol-           (https://www​.aclu​.org/​issues/​immigrants​
            documented the damage that will              icy by means of policy advocacy            -­rights/​immigrants​-­rights​-­and​-­detention/​
                                                                                                    family​-­separation).
            almost surely be caused by indefi-           and engagement with legislative            2. Linton JM, Griffin M, Shapiro AJ. Deten-
            nite and unregulated detention.              representatives. From our training         tion of immigrant children. Pediatrics 2017;
            We believe that the government               and professional experiences, we           139(5):​e20170483.
                                                                                                    3. Shonkoff JP, Garner AS. The lifelong ef-
            should not be complicit in the               have an understanding of the ef-           fects of early childhood adversity and toxic
                                                                                                    stress. Pediatrics 2012;​129(1):​e232-e246.
                 Recommended Approaches for Receiving Noncitizen Children and Families.             4. Felitti VJ, Anda RF, Nordenberg D, et al.
                                                                                                    Relationship of childhood abuse and house-
              Discontinue family-detention and family-separation practices, except in extreme       hold dysfunction to many of the leading
                  cases of danger or risk identified by means of individualized assessment by ob-   causes of death in adults: the Adverse Child-
                  jective third-party observers.                                                    hood Experiences (ACE) Study. Am J Prev
              House families together in community settings or in “least restrictive” environ-      Med 1998;​14:​245-58.
                  ments, providing families with options and agency in determining their resi-      5. American Civil Liberties Union Border
                  dential placement during the course of ongoing immigration proceedings.           Rights, University of Chicago Law School
              Provide access to age-appropriate educational services, in accordance with nation-    International Human Rights Clinic. Neglect
                  al education standards, oversight, and monitoring.                                and abuse of unaccompanied immigrant
              Allocate resources to provide culturally sensitive, trauma-informed case manage-      children by U.S. customs and border protec-
                  ment, health care, and prevention and treatment services for mental health.       tion. May 2018 (https://www​               .aclusandiego
              Provide a humane response to asylum-seeking children and families in accordance       .org/​civil​-­rights​-­civil​-­liberties/​).
                  with U.S., international, and humanitarian law.                                   DOI: 10.1056/NEJMp1814340
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                                                                                                    Reducing Protections for Noncitizen Children




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1                                 CERTIFICATE OF SERVICE
2

3          I, Peter Schey, declare and say as follows:
4          I am over the age of eighteen years of age and am a party to this action. I am
5
     employed in the County of Los Angeles, State of California. My business address is
6

7    256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.

8          On this date, May 31, 2019, I electronically filed the following document(s):
9
        • EXHIBITS IN SUPPORT OF PLAINTIFFS’ MOTION TO ENFORCE THE
10        SETTLEMENT AGREEMENT [REDACTED VERSION OF DOCUMENTS
          PROPOSED TO BE FILED UNDER SEAL] VOL. 1 OF 5
11

12   with the United States District Court, Central District of California by using the
13
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
     served by the CM/ECF system.
15

16

17

18
                                                                /s/Peter Schey
                                                                Attorney for Plaintiffs
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                                                           CV 85-4544-DMG (AGRX)
